Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170804 Page 1 of
                                    134



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  15
        IN RE: PACKAGED SEAFOOD                    Case No. 3:15-md-02670-JLS-MDD
  16
        PRODUCTS ANTITRUST                         MDL No. 2670
  17    LITIGATION
                                                   PLAINTIFFS’ JOINT OPPOSITION
  18                                               TO THE PARENT ENTITIES’
                                                   SUMMARY JUDGMENT
  19                                               MOTIONS
  20    This document relates to:
                                                   Re: ECF Nos. 1973, 1998, 2001
  21
        ALL ACTIONS                                [PUBLIC REDACTED VERSION]
  22
                                                   DATE:         February 12, 2019
  23                                               TIME:         9:00 a.m.
  24                                               JUDGE:        Janis L. Sammartino
                                                   CTRM:         4D
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  28
       PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)       CASE NO. 15-MD-2670-JLS-MDD
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170805 Page 2 of
                                    134



   1                                        TABLE OF CONTENTS

   2   JOINING PARTIES .................................................................................... xii
   3   GLOSSARY OF ABBREVIATIONS AND CITATIONS ........................... xiii
       I.     INTRODUCTION ................................................................................... 1
   4
       II.       FACTUAL BACKGROUND ............................................................... 3
   5
            A.     Dongwon and StarKist ....................................................................... 5
   6
            B.     TUG and COSI.................................................................................. 9
   7        C.     Lion Entities and Bumble Bee .......................................................... 11
   8          1. Procedural History ........................................................................... 11
   9          2. Factual Background .......................................................................... 12
  10        D.     The Conspiracy ................................................................................ 19
  11          1. The Two Levels of the Conspiracy .................................................... 19
              2. The Parent Entities’ Involvement in the Conspiracy. ......................... 21
  12
                 a. The Origins of the 2010-2015 Conspiracy ....................................... 21
  13
                 b. The “Owner-to-Owner” Tour ........................................................ 22
  14             c. Preparation for the 2011 Price Increase .......................................... 27
  15          3. The Conspiracy Continues ................................................................ 29
  16   III.      SUMMARY JUDGMENT STANDARDS ......................................... 43
  17   IV.       ARGUMENT REGARDING CONSPIRACY PARTICIPATION ..... 44
  18        A.     Summary Judgment Standard in an Antitrust Case ........................... 45
            B.     Defendants Have Not Met Their Burden to Show There Are No
  19
                   Disputes of Material Fact. ................................................................ 51
  20          1. Defendants’ Arguments About What the Evidence Shows May Not Be
  21             Resolved By the Court. ..................................................................... 54
  22          2. Jae Chul Kim, Ingu Park, and Other DWE Executives Are Plainly
                 Connected to and in Control of DWI. ............................................... 62
  23
              3. TUG Has Not Shown That It Would Be Economically Implausible For
  24             It to Participate In The Conspiracy. .................................................. 65
  25          4. Defendants’ Admissions and the Guilty Pleas Are Not Dispositive on
                 Whether Defendants Conspired ........................................................ 70
  26
            C.     Plaintiffs have Shown that A Reasonable Fact Finder Could Find that
  27               The Parent Entities Conspired in This Case. ...................................... 74
  28
       PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)                  CASE NO. 15-MD-2670-JLS-MDD
                                                 i
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170806 Page 3 of
                                    134



   1   V.      ARGUMENT REGARDING ALTER EGO AND AGENCY
               CLAIMS ............................................................................................. 81
   2
         A.       Legal Standards. .............................................................................. 82
   3         1. Alter Ego Standard ............................................................................. 82
   4         2. Agency Standard .............................................................................. 87
   5     B.       DWI and StarKist ............................................................................ 88
   6     C.       TUG and COSI................................................................................ 99
   7     D.       Lion Entities ...................................................................................105
             1. Lion Americas Acted as an Agent of Lion Capital ............................106
   8
             2. Big Catch is the Alter Ego of Lion Capital ........................................109
   9
       VI.     CONCLUSION .................................................................................111
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
       PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)                   CASE NO. 15-MD-2670-JLS-MDD
                                                 ii
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170807 Page 4 of
                                    134



   1                                      TABLE OF AUTHORITIES

   2                                                                                                          Page(s)
   3   Cases
   4
       Abante Rooter & Plumbing, Inc. v. Alarm.com Inc.,
   5     No. 15-CV-06314-YGR, 2018 WL 3707283 (N.D. Cal. Aug. 3,
         2018).........................................................................................................88
   6
   7   Alman v. Danin,
         801 F.2d 1 (1st Cir. 1986) ..........................................................................84
   8
       Am. Needle, Inc. v. Nat’l Football League,
   9
         560 U.S. 183 (2010) ...................................................................................64
  10
       Am. Soc. of Mech. Eng’rs, Inc. v. Hydrolevel Corp.,
  11     456 U.S. 556 (1982) ............................................................................. 64, 65
  12
       Anderson v. Liberty Lobby, Inc.,
  13     477 U.S. 242 (1986) ...................................................................................43
  14   Arandell Corp. v. Centerpoint Energy Services, Inc.,
  15      900 F.3d 623 (9th Cir. 2018) .......................................................... 50, 73, 81
  16   Associated Vendors, Inc. v. Oakland Meat Co.,
  17      210 Cal. App. 2d 825 (Cal. Ct. App. 1962) .................................................86

  18   Axon Solutions, Inc. v. San Diego Data Processing Corp.,
         No. 09 CV 2543 JM RBB, 2010 WL 1797028 (S.D. Cal. May 4,
  19
         2010).........................................................................................................95
  20
       In re Baby Food Antitrust Litigation,
  21       166 F.3d 112 (3d Cir. 1999) .......................................................................78
  22
       Bangor Punta Operations, Inc. v. Bangor & A.R. Co.,
  23     417 U.S. 703 (1974) ...................................................................................84
  24   Barnes v. Arden Mayfair, Inc.,
  25      759 F.2d 676 (9th Cir. 1985) ................................................................ 70, 71
  26   Baxter v. Palmigiano,
  27     425 U.S. 308 (1976) .................................................................................... 4

  28
       PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)                     CASE NO. 15-MD-2670-JLS-MDD
                                                 iii
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170808 Page 5 of
                                    134



   1   Bd. of Locomotive Eng’rs v. Springfield Terminal Ry. Co.,
          210 F.3d 18 (1st Cir. 2000) .................................................................. 83, 84
   2
       Beltz Travel Serv., Inc. v. Int’l Air Transp. Ass’n,
   3      620 F.2d 1360 (9th Cir. 1980) ........................................................ 50, 73, 74
   4
       Bowoto v. Chevron Texaco Corp.,
   5     312 F. Supp. 2d 1229 (N.D. Cal. 2004) ................................................ 87, 89
   6
       British Marine PLC v. Aavanti Shipping & Chartering Ltd.,
   7      No. 13 CIV. 0839 BMC, 2013 WL 6092821 (E.D.N.Y. Nov. 19,
          2013)................................................................................................... 84, 85
   8
   9   Cal. Retail Liquor Dealers Ass’n v. Midcal Aluminum, Inc.,
          445 U.S. 97 (1980) .....................................................................................83
  10
       Cascade Steel Rolling Mills, Inc. v. C. Itoh & Co. (Am.) Inc.,
  11
          499 F. Supp. 829 (D. Or. 1980) ..................................................................85
  12
       In re Cathode Ray Tube (CRT) Antitrust Litig. (CRTs),
  13       No. C-07-5944 JST, 2017 WL 5957654 (N.D. Cal. Feb. 27,
  14       2017)............................................................................................. 54, 61, 65
  15   Chartrand v. Barney’s Club, Inc.,
  16     380 F.2d 97 (9th Cir. 1967) ........................................................................63

  17   In re ChinaCast Educ. Corp. Sec. Litig.,
           809 F.3d 471 (9th Cir. 2015) ......................................................................64
  18
  19   In re Chocolate Confectionary Antitrust Litigation,
           801 F.3d 383 (3d Cir. 2015) ........................................................... 76, 77, 78
  20
       In re Citric Acid Litig.,
  21
           191 F.3d 1090 (9th Cir. 1999) .............................................................. passim
  22
       In re Citric Acid Litigation,
  23       996 F. Supp. 951 (N.D. Cal. 1998) .............................................................79
  24
       Cont’l Ore Co. v. Union Carbide & Carbon Corp.,
  25     370 U.S. 690 (1962) .................................................................................... 1
  26   Contract Assocs. Office Interiors, Inc. v. Ruiter,
  27     No. CIV.S0700334 WBS EFB, 2008 WL 2225702 (E.D. Cal.
         May 29, 2008) ...........................................................................................87
  28
       PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)                     CASE NO. 15-MD-2670-JLS-MDD
                                                 iv
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170809 Page 6 of
                                    134



   1   Copperweld Corp. v. Independence Tube Corp.,
         467 U.S. 752 (1984) ....................................................................... 81, 83, 84
   2
       Cyprus Amax Minerals Co. v. TCI Pac. Commc’ns, Inc.,
   3     No. 11-CV-0252-CVE-PJC, 2015 WL 427807 (N.D. Okla. Feb.
   4     2, 2015) ............................................................................................... 85, 86
   5   Daniels v. United States,
   6     No. 3:16-CV-02077-BTM-DHB, 2017 WL 3478765 (S.D. Cal.
         Aug. 11, 2017)...........................................................................................88
   7
       Dearborn v. Mar Ship Operations, Inc.,
   8
         113 F.3d 995 (9th Cir. 1997) .................................................................... 109
   9
       Denny’s Marina, Inc. v. Renfro Prods., Inc.,
  10     8 F.3d 1217 (7th Cir. 1993) ........................................................................45
  11
       Donovan v. Schmoutey,
  12     592 F. Supp. 1361 (D. Nev. 1984) ........................................................ 63, 64
  13   In re Dynamic Random Access Memory (DRAM) Antitrust Litigation,
  14       No. M 02-1486 PJH, 2007 WL 9752971 (N.D. Cal. Feb. 20,
           2007).........................................................................................................70
  15
  16   Eastman Kodak Co. v. Image Tech. Servs., Inc.,
          504 U.S. 451 (1992) ....................................................................... 43, 48, 53
  17
       Erie R. Co. v. Tompkins,
  18
          304 U.S. 64 (1938) .....................................................................................84
  19
       Esco Corp. v. United States,
  20      340 F.2d 1000 ...........................................................................................57
  21
       Family Home & Fin. Ctr., Inc. v. Fed. Home Loan Mortg. Corp.,
  22     525 F.3d 822 (9th Cir. 2008) ......................................................................44
  23   In re Flat Glass Antitrust Litig.,
  24       385 F.3d 350(3d Cir. 2004) ........................................................................56
  25   In re G&L Packing Co., Inc.,
  26       41 B.R. 903 (N.D.N.Y. 1984) ....................................................................83

  27   In re Grand Jury Subpoenas,
           627 F.3d 1143 (9th Cir. 2010) ....................................................................72
  28
       PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)                      CASE NO. 15-MD-2670-JLS-MDD
                                                 v
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170810 Page 7 of
                                    134



   1   GSI Tech., Inc. v. Cypress Semiconductor Corp.,
         No. 5:11-CV-03613-EJD, 2015 WL 365491 (N.D. Cal. Jan. 27,
   2     2015).........................................................................................................46
   3   Harris Rutsky & Co. Ins. Servs. v. Bell & Clements Ltd.,
   4     328 F.3d 1122 (9th Cir. 2003) ....................................................................87
   5   Cal. ex rel. Harris v. Safeway, Inc.,
   6      651 F.3d 1118 (9th Cir. 2011) ....................................................................46

   7   Head v. Wilkie,
         No. 17-55942, 2019 WL 4213764 (9th Cir. Sept. 5, 2019) ...........................44
   8
   9   In re High Fructose Corn Syrup Antitrust Litig.,
           295 F.3d 651 (7th Cir. 2002) ..................................................... 46, 73, 78, 79
  10
       In re High-Tech Emp. Antitrust Litig.,
  11
           856 F. Supp. 2d 1103 (N.D. Cal. 2012) ......................................................50
  12
       In re High-Tech Emp. Antitrust Litig.,
  13       No. 11-CV-02509-LHK, 2014 WL 1283086 (N.D. Cal. Mar. 28,
  14       2014)................................................................................................... 47, 80
  15   Home Depot, U.S.A., Inc. v. E.I. DuPont de Nemours & Co.,
  16     No. 16-CV-04865-BLF, 2019 WL 3804667 (N.D. Cal. Aug. 13,
         2019)................................................................................................... 48, 78
  17
       In re Hydroxycut Mktg. & Sales Practices Litig.,
  18
           810 F. Supp. 2d 1100 (S.D. Cal. 2011) ..................................................... 104
  19
       Jacobson v. U.S. Dep’t of Homeland Sec.,
  20      882 F.3d 878 (9th Cir. 2018) ......................................................................44
  21
       Johnson v. VCG Holding Corporation,
  22      845 F. Supp. 2d 353 (D. Me. 2012) ............................................................86
  23   Kleen Prods. LLC v. Georgia-Pac. LLC,
  24      910 F.3d 927 (7th Cir. 2018) ......................................................................60
  25   Maney v. Fischer,
  26     No. 96 Civ. 0561 (KMW), 1998 WL 151023 (S.D.N.Y. Mar. 31,
         1998)................................................................................................... 82, 83
  27
  28
       PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)                     CASE NO. 15-MD-2670-JLS-MDD
                                                 vi
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170811 Page 8 of
                                    134



   1   Margolis v. Dial Corp.,
         No. 12-CV-288 JLS (WVG), 2013 WL 12069023 (S.D. Cal.
   2     Aug. 23, 2013)...........................................................................................89
   3   Matsumoto v. Auto Page, Inc.,
   4     No. B216840, 2010 WL 5061932 (Cal. Ct. App. Dec. 13, 2010) ............... 102
   5   Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
   6     475 U.S. 574 (1986) .................................................................. 46, 47, 48, 53

   7   McLaughlin v. Liu,
         849 F.2d 1205 (9th Cir. 1988) ....................................................................51
   8
   9   Mercury Time, Inc. v. Gruen Mktg. Corp.,
         No. 97-CV-0020 JG, 1999 WL 342299 (E.D.N.Y. May 26, 1999)...............86
  10
       Meyer v. Kalanick,
  11
         174 F. Supp. 3d 817 (S.D.N.Y. 2016).........................................................74
  12
       In re Mid-Atl. Toyota Antitrust Litig.,
  13       560 F. Supp. 760 (D. Md. 1983).................................................................45
  14
       Moviecolor Ltd. v. Eastman Kodak Co.,
  15     288 F.2d 80 (2d Cir. 1961) .........................................................................83
  16   N.L.R.B. v. Deena Artware, Inc.,
  17      361 U.S. 398 (1960) ...................................................................................85
  18   NEC Elecs. Inc. v. Hurt,
  19     208 Cal. App. 3d 772 (Cal. Ct. App. 1989) .................................................99

  20   New York State Elec. & Gas Corp. v. FirstEnergy Corp.,
         808 F. Supp. 2d 417 (N.D.N.Y. 2011) ........................................................83
  21
  22   Nissan Fire & Marine Ins. Co. v. Fritz Cos., Inc.,
          210 F.3d 1099 (9th Cir. 2000) ....................................................................63
  23
       In re Packaged Ice Antitrust Litig.,
  24
           723 F. Supp. 2d 987 (E.D. Mich. 2010) ......................................................73
  25
       Phoenix Canada Oil v. Texaco Inc.,
  26     842 F.2d 1466 (3d Cir. 1988) .....................................................................88
  27
  28
       PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)                 CASE NO. 15-MD-2670-JLS-MDD
                                                 vii
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170812 Page 9 of
                                    134



   1   In re Platinum-Beechwood Litig.,
           No. 18-CV-10936 (JSR), 2019 WL 2569653 (S.D.N.Y. June 21,
   2       2019).........................................................................................................63
   3   In re Plywood Antitrust Litig.,
   4       655 F.2d 627 (5th Cir. 1981) ......................................................................60
   5   Poller v. Columbia Broad. Sys., Inc.,
   6      368 U.S. 464 (1962) ...................................................................................51

   7   In re Polypropylene Carpet Antitrust Litig.,
           178 F.R.D. 603 (N.D. Ga. 1997)................................................................73
   8
   9   Precision Assocs., Inc. v. Panalpina World Transp. (Holding) Ltd.,
          No. 08-CV-00042 JG VVP, 2012 WL 3307486 (E.D.N.Y. Aug.
  10      13, 2012) ...................................................................................................49
  11
       In re Publ’n Paper Antitrust Litig.,
  12       690 F.3d 51 (2d Cir. 2012) ................................................................... 46, 54
  13   Rad Servs., Inc. v. Aetna Cas. & Sur. Co.,
  14     808 F.2d 271 (3d Cir. 1986) ........................................................................ 4
  15   Ramirez v. Chip Masters, Inc.,
  16     No. 11-CV-5772 (WFK) (MDG), 2014 WL 1248043 (E.D.N.Y.
         Mar. 25, 2014)...........................................................................................97
  17
       Rearden LLC v. Crystal Dynamics, Inc.,
  18
          No. 17-CV-04187-JST, 2018 WL 3023450 (N.D. Cal. June 18,
  19      2018).........................................................................................................44
  20   Riddle v. Leuschner,
  21      51 Cal. 2d 574, 335 P.2d 107 (Cal. 1959)....................................................99
  22   Doe ex rel. Rudy-Glanzer v. Glanzer,
         232 F.3d 1258 (9th Cir. 2000) ..................................................................... 4
  23
  24   S.E.C. v. Elmas Trading Co.,
          620 F. Supp. 231 (D. Nev. 1985)................................................................84
  25
  26   Sec. & Exch. Comm’n v. Colello,
          139 F.3d 674 (9th Cir. 1998) ....................................................................... 4
  27
  28
       PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)                      CASE NO. 15-MD-2670-JLS-MDD
                                                viii
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170813 Page 10 of
                                     134



   1    Sec. & Exch. Comm’n v. Strategic Global Invs., Inc.,
           262 F. Supp. 3d 1007 (S.D. Cal. 2017) ........................................................ 4
   2
        Seiko Epson Corp. v. Print-Rite Holdings, Ltd.,
   3       No. CV 01-500-BR, 2002 WL 32513403 (D. Or. Apr. 30, 2002) .................85
   4
        Siegel v. Warner Bros. Entm’t Inc.,
   5       581 F. Supp. 2d 1067 (C.D. Cal. 2008).......................................................81
   6
        In re SK Foods, LP,
   7        499 B.R. 809 (E.D. Cal. Bank. 2013) ................................................... 86, 99
   8    Stanislaus Food Prods. Co. v. USS-POSCO Indus.,
   9       803 F.3d 1084 (9th Cir. 2015) .............................................................. passim
  10    State Farm Mut. Auto Ins. Co. v. Abrams,
  11       No. 96 C 6365, 2000 WL 574466 (N.D. Ill. May 11, 2000) .......................... 4

  12    In re Static Random Access Memory (SRAM) Antitrust Litig.,
            No. 07-MD-01819 CW, 2010 WL 5138859 (N.D. Cal. Dec. 10,
  13        2010)........................................................................................ 61, 74, 75, 81
  14
        Stevens v. Corelogic, Inc.,
  15       899 F.3d 666 (9th Cir. 2018) ......................................................................44
  16    Sun Microsystems Inc. v. Hynix Semiconductor Inc.,
  17      622 F. Supp. 2d 890 (N.D. Cal. 2009) ........................................................87
  18    In re Tableware Antitrust Litig.,
  19        No. C 04 3514 VRW, 2007 WL 781960 (N.D. Cal. Mar. 13,
            2007).......................................................................................................... 4
  20
        Texas Indus., Inc. v. Radcliff Materials, Inc.,
  21
           451 U.S. 630 (1981) ...................................................................................84
  22
        In re TFT-LCD (Flat Panel) Antitrust Litig.,
  23        599 F. Supp. 2d 1179 (N.D. Cal. 2009) ......................................................19
  24
        In re TFT-LCD (Flat Panel) Antitrust Litig.,
  25        No. M 07-1827 SI, 2011 WL 7724271 (N.D. Cal. Nov. 4, 2011) .................54
  26    In re Titanium Dioxide Antitrust Litig.,
  27        959 F. Supp. 2d 799 (D. Md. 2013) ............................................................79
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)                      CASE NO. 15-MD-2670-JLS-MDD
                                                  ix
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170814 Page 11 of
                                     134



   1    Toys “R” Us, Inc. v. FTC,
          221 F.3d 928 (7th Cir. 2000) ......................................................................46
   2
        Trenz v. Sirius Xm Radio, Inc.,
   3       No. 15CV0044 AJB (NLS), 2015 WL 11658715 (S.D. Cal. July
   4       13, 2015) ...................................................................................................87
   5    U.S. v. Bestfoods,
   6       524 U.S. 51 (1998) .....................................................................................65

   7    United States v. Dist. Council of N.Y. City & Vicinity of United Bhd. of
          Carpenters & Joiners of Am.,
   8
          832 F. Supp. 644 (S.D.N.Y. 1993) .............................................................. 4
   9
        United States v. Gen. Motors Corp.,
  10      384 U.S. 127 (1966) ...................................................................................46
  11
        United States v. Grasso,
  12      724 F.3d 1077 (9th Cir. 2013) ....................................................................49
  13    United States v. ITS Fin., LLC,
  14      No. 3:12-cv-95, 2013 WL 5947222 (S.D. Ohio Nov. 6, 2013) ...................... 5
  15    United States v. Kimball Foods, Inc.,
  16      440 U.S. 715 (1979) ...................................................................................82

  17    United States v. MMR Corp. (LA),
          907 F.2d 489 (5th Cir. 1990) ......................................................................45
  18
  19    United States v. Paramount Pictures,
          334 U.S. 131 (1948) ...................................................................................45
  20
        United States v. Peters,
  21
          732 F.3d 93 (2d Cir. 2013) .........................................................................83
  22
        United States v. Reed,
  23      575 F.3d 900 (9th Cir. 2009) ......................................................................49
  24
        United States v. Wallace,
  25      759 F.3d 486 (5th Cir. 2014) ................................................................ 50, 73
  26    In re Urethane Antitrust Litig.,
  27        913 F. Supp. 2d 1145 (D. Kan. 2012) .........................................................62
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)                     CASE NO. 15-MD-2670-JLS-MDD
                                                  x
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170815 Page 12 of
                                     134



   1    Visa Int’l Serv. Ass’n v. Bankcard Holders of Am.,
           784 F.2d 1472 (9th Cir. 1986) ....................................................................44
   2
        In re Vitamin C Antitrust Litig.,
   3        No. 06-MD-1738 (BMC)(JO), 2012 WL 2930109 (E.D.N.Y.
   4        July 18, 2012) .......................................................................................... 101
   5    In re Vitamins Antitrust Litig.,
   6        270 F. Supp. 2d 15 (D.D.C. 2003)..............................................................45

   7    In re Vitamins Antitrust Litig.,
            No. 99-197 (TFH), 2000 WL 1475705 (D.D.C. May 9, 2000) .....................73
   8
   9    Wolfe v. United States,
          806 F.2d 1410 (9th Cir. 1986) ....................................................................82
  10
        In re Wolverton Assocs.,
  11
            909 F.2d 1286 (9th Cir. 1990) ....................................................................87
  12
        Zenith Radio Corp. v. Matsushita Elec. Indus. Co., Ltd.,
  13       402 F. Supp. 262 (E.D. Pa. 1975)...............................................................85
  14
        Statutes
  15
        Clayton Antitrust Act......................................................................... 82, 83, 84
  16
  17    Sherman Antitrust Act ............................................................................. passim

  18    Other Authorities
  19    Christine Varney & John F. Terzaken, The Cartels and Leniency
  20      Review (1st ed. 2013) ..................................................................................72
  21    Federal Rule of Civil Procedure 56(a) .............................................................43
  22    Federal Rule of Civil Procedure 56(d)..............................................1, 12, 43, 44
  23
        O’Malley, Grenig, & Lee, Federal Jury Practice & Instructions Civil
  24      Companion Handbook § 1:4 ......................................................................60
  25    United States Attorneys’ Manual § 9-11.140 ...................................................72
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)                    CASE NO. 15-MD-2670-JLS-MDD
                                                  xi
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170816 Page 13 of
                                     134
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170817 Page 14 of
                                     134
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170818 Page 15 of
                                     134



   1          The Direct Purchaser Plaintiffs (“DPPs”), End Payer Plaintiffs (“EPPs”),
   2    Commercial Food Preparers (“CFPs”), and Direct Action Plaintiffs (“DAPs”)
   3    hereby oppose the Motions for Summary Judgment filed by the “Parent
   4    Defendants” or “Parent Companies/Entities” in this case: Defendants Dongwon
   5    Industries (“DWI”), Thai Union Group (“TUG”), and Lion Capital, Lion
   6    (Americas), Inc., and Big Catch Cayman LP (together, the “Lion Entities”). See
   7    ECF Nos. 1973 (“DWI Mot.”), 1973-1 (“DWI MP&A”); 2001 (“TUG Mot.”);
   8    2001-1 (“TUG MP&A”); and 1998 (“Lion Mot.”); 1998-1 (“Lion MP&A”).
   9    Conspiracies under the antitrust laws are to be judged “as a whole” (Cont’l Ore Co.
  10    v. Union Carbide & Carbon Corp., 370 U.S. 690, 699 (1962)), and accordingly,
  11    Plaintiffs file this joint response opposing the Parent Entities’ Motions. See ECF
  12    Nos. 1973, 1998, 2001.
  13          Moreover, because the Court has neither ruled on Lion Capital LLP (“Lion
  14    Capital”) and Big Catch LP’s (“Big Catch”) pending motion to dismiss nor
  15    authorized discovery to be opened against either defendant, their motion for
  16    summary judgment is premature and should be denied pursuant to Federal Rule
  17    of Civil Procedure 56(d). See Supporting Decl. of Elana Katcher.
  18    I.    INTRODUCTION
  19          A jury should decide whether the Parent Companies in this case violated the
  20    antitrust laws. There is more than enough evidence establishing that these entities
  21    participated in and supported the conspiracy in this case to go to the jury.
  22          It is true that the U.S. subsidiary Defendants—which have all admitted to
  23    participating in the conspiracy to varying degrees—have not admitted that their
  24    Parent Entities participated in the conspiracy. But that fact is not at all dispositive
  25    in this case. The record is replete with examples of conduct by the Parent Entities
  26    that is plainly inconsistent with competition—including direct evidence of the
  27    Parent Companies’ knowledge and support for their subsidiaries’ conspiracy.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  1
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170819 Page 16 of
                                     134



   1          TUG urges the Court to accept its innocent explanations for the surreptitious
   2    communications between
   3                                        and argues that although TUG itself sold private
   4    label packaged tuna, it had nothing to gain from this conspiracy. Likewise, the
   5    Lion Entities suggest that these meetings were for a legitimate business purpose and
   6    further suggest interpretations for various evidence before the Court.        These
   7    arguments should be heard by a jury. The contemporaneous evidence reflects that
   8    the Parent Companies communicated to one another their mutual desires to stop
   9    price competition in the packaged tuna industry and increase profits for all. It
  10    shows that the Parent Entities took steps to achieve those goals and were ultimately
  11    successful. Looking at this conspiracy as a whole, as the controlling case law
  12    requires, Plaintiffs have proffered sufficient facts for a jury to find the Parent
  13    Defendants liable.
  14          DWI’s motion does not even attempt to discuss the conspiracy evidence
  15    against it (in dereliction of its burden at summary judgment). Instead, the primary
  16    thrust of its motion is the argument that not “a single DWI employee or board
  17    member” participated in anticompetitive conduct. DWI MP&A at 1. This is
  18    plainly false. Conspicuously absent from DWI’s discussion is any reference to how
  19    the majority owners of DWI—Jae Chul Kim and his son, Nam-jung Kim—directly
  20    participated in and supported this conspiracy. Additionally, DWI completely
  21    ignores that it authorized officials of Dongwon Enterprise Co. Ltd. (“DWE”), such
  22    as Ingu Park, Moonsu Park, and Andrew Choe, to operate and act on its behalf for
  23    the purposes of representing DWI’s interests with StarKist.        Indeed, there is
  24    evidence that both Jae Chul Kim and Ingu Park met with competitors while
  25    expressly asserting they represented DWI—facts DWI entirely ignores. Under
  26    basic agency principles and policies underlying the antitrust laws, DWI must be
  27    held accountable for its actions.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  2
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170820 Page 17 of
                                     134



   1          There is abundant evidence against the Parent Entities—this brief contains
   2    over 100 pages of evidence and discussion about their participation, including a
   3    timeline (above) laying out key facts and dates. Critically, the Court should note:
   4    (1) the meetings between the Parent Entities, followed by meetings with their U.S.
   5    subsidiaries and price increases; (2) the evidence that each parent company knew
   6    about the conspiracy (e.g., (a) that Lion Capital and Lion Americas’ executives
   7    received a “whistleblower” letter about “anticompetitive” behavior in violation of
   8    the “Sherman Act”; (b) TUG’s CEO knew that there was
   9    in the U.S. packaged tuna market, which meant significant profits for COSI; and
  10    (c) Dongwon knew of the                              between StarKist and Bumble Bee);
  11    and (3) the language and signaling used by the Parent Companies to describe and
  12    propose increased pricing, including how pricing should become
  13                                                                                problems.
  14    Based on such evidence, a jury absolutely could (and should) find the Parent
  15    Entities liable for violating the antitrust laws.
  16          Finally, Plaintiffs respond to the arguments about their alter ego and agency
  17    allegations. The evidence shows how the Parent Companies used their control to
  18    interfere with their respective U.S. subsidiaries’ operations and directed them and
  19    their assets be used for the benefit of the Parents. There is also evidence the Parents
  20    ratified the illicit conduct by their respective U.S. subsidiaries. Given the fact-
  21    intensive inquiry that applies and the substantial evidence that supports these
  22    conclusions, neither can be resolved at summary judgment.
  23          Summary judgment for the Parent Companies is not warranted.
  24    II.   FACTUAL BACKGROUND
  25          In the following section, Plaintiffs first discuss each parent company and its
  26    relationships with its respective subsidiary (Parts A-C), and then Plaintiffs discuss
  27    the facts supporting the Parent Entities’ involvement in the conspiracy (Part D).
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)     CASE NO. 15-MD-2670-JLS-MDD
                                                  3
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170821 Page 18 of
                                     134



   1          Below, Plaintiffs reference testimony in which witnesses invoked Fifth
   2    Amendment protections against self-incrimination. Such invocations in a civil
   3    setting give rise to an adverse inference when silence is corroborated by
   4    independent evidence of the fact being questioned. See Baxter v. Palmigiano, 425
   5    U.S. 308, 318 (1976); Sec. & Exch. Comm’n v. Strategic Global Invs., Inc., 262 F. Supp.
   6    3d 1007, 1023 (S.D. Cal. 2017) (where “the Court finds that there is independent
   7    corroborating evidence of Defendants’ [liability] [] th[e] Court may properly draw
   8    an adverse inference from [the] Fifth Amendment invocation and shift to
   9    Defendants the burden of [proof]”); Sec. & Exch. Comm’n v. Colello, 139 F.3d 674,
  10    677-78 (9th Cir. 1998) (approving same).
  11          Moreover, “the refusal to testify by a proven co-conspirator may justify an
  12    adverse inference against other conspirators.” United States v. Dist. Council of N.Y.
  13    City & Vicinity of United Bhd. of Carpenters & Joiners of Am., 832 F. Supp. 644, 652
  14    (S.D.N.Y. 1993); State Farm Mut. Auto Ins. Co. v. Abrams, No. 96 C 6365, 2000 WL
  15    574466, at *7 (N.D. Ill. May 11, 2000) (“[A]n adverse inference could be drawn
  16    against a party from an alleged co-conspirator’s invocation of the Fifth Amendment
  17    privilege against self-incrimination. . . . As alleged co-conspirators, some degree of
  18    loyalty and/or control may prevent one party from rendering damaging testimony
  19    against another.”); see also Doe ex rel. Rudy-Glanzer v. Glanzer, 232 F.3d 1258, 1264
  20    (9th Cir. 2000) (“not allowing the negative inference to be drawn poses substantial
  21    problems for an adverse party who is deprived of a source of information that might
  22    conceivably be determinative in a search for the truth”) (quotation omitted).1
  23
  24
        1
          Such invocations can be imputed to these witnesses’ employers and former
        employers as well. Rad Servs., Inc. v. Aetna Cas. & Sur. Co., 808 F.2d 271, 275-76
  25    (3d Cir. 1986). “[T]he Third Circuit analogized from FRE 801(d)(2)(D) to hold
  26    that drawing a negative inference from a former employee’s refusal to testify is
        permissible so long as there are factors ‘suggesting the retention of some loyalty
  27    by the former employee to the party-employer.’” In re Tableware Antitrust Litig.,
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  4
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170822 Page 19 of
                                     134



   1    Accordingly, where Fifth Amendment testimony is discussed below, the Court
   2    should consider whether the jury could infer that the answer to the question asked
   3    could have been unfavorable to the witness or his co-conspirators.
   4       A. Dongwon and StarKist
   5          StarKist is the wholly-owned subsidiary of DWI, a company established by
   6    Chairman Jae Chul Kim (“Chairman Kim”). It is undisputed that DWI is a
   7    publicly-traded company in South Korea, with 59.24% of its shares owned by
   8    DWE. DWE is primarily owned by only two individuals—who collectively own
   9    over 92% of its shares: Chairman Kim (24.5%) and his son, Vice-Chairman
  10    Nam-jung Kim (“Nam-jung”) (67.98%).2 By owning nearly 60% of DWI, DWE
  11    and its majority owners also benefit from DWI’s ownership of StarKist. See also
  12    Stein Decl., Ex. 210 (Choe Dep.) 49:12-16 (testifying that “
  13
  14                         ”).
  15          Although Dongwon suggests that DWI played no role with StarKist or the
  16    conspiracy, it ignores the virtually complete authority DWI gave various DWE
  17    executives to act on its behalf. One of the primary ways DWI did this was by
  18    making its equitable owners Chairman Kim and Nam-jung
  19                        , along with DWE officials: (a) Ingu Park (“Ingu”), Chairman
  20    Kim’s brother in law and the other Vice-Chairman of the Dongwon Group; (b)
  21    Moonsu Park (“Moonsu”), the current President and former CFO of DWE, as well
  22
  23    No. C 04 3514 VRW, 2007 WL 781960, at *5 (N.D. Cal. Mar. 13, 2007) (quoting
        Rad Servs., 808 F.2d at 275); see also United States v. ITS Fin., LLC, No. 3:12-cv-95,
  24
        2013 WL 5947222, *92-93 (S.D. Ohio Nov. 6, 2013) (Black, J.) aff’d in part, rev’d
  25    in part on other grounds, No. 13-4341, 2014 WL 6610420 (6th Cir. Nov. 21, 2014)
        (drawing adverse inference when defendant’s former vice president invoked the
  26
        Fifth Amendment).
  27    2
          See Hamilton Report ¶¶ 89, 96. Stein Decl., Ex. 42; Stein Decl., Ex. 43.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  5
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170823 Page 20 of
                                     134



   1    as                      of DWI3; and (c) Andrew Choe (“Choe”), StarKist’s current
   2    president and CEO, who was formerly a director of strategic planning at DWE and
   3    reported to Moonsu.4
   4                      —instead, DWI delegated to DWE officials total authority to act
   5    on its behalf with respect to StarKist.
   6            While Dongwon wants the Court to believe that each of the individuals above
   7    wore a particular hat and never blurred the lines about the entity on whose behalf
   8    they were acting, the record indicates that the opposite is true.
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  17                                                                                 Ingu’s
  18    3
            Stein Decl., Ex. 211 (Park (Moonsu) Dep.) 12:7-12, 15:22-16:16, 17:25-19-5.
  19
  20
                                                                     Stein Decl., Ex. 212
  21    (DWI 30(b)(6) (Lee) Dep.) 204:14-206:12.
  22    4
          Stein Decl., Ex. 14; Stein Decl., Ex. 210 (Choe Dep.) 10:14-11-22.
  23
        5
          Stein Decl., Ex. 15 (DWI’s Am. Rule 26(a)(1) Initial Disclosures) (Sept. 29,
        2017)). DWI recently supplemented its initial disclosures to identify additional
  24    individuals, after Plaintiffs had already deposed those individuals. See id.
  25    (attaching DWI’s Second Am. Rule 26(a)(1) Initial Disclosures (Mar. 7, 2019)).
        6
          Stein Decl., Ex. 213 (Shin Dep.) 13:5-7, 14:23-24, 134:11-13.
  26    7
          Stein Decl., Ex. 201 (Tharp Dep.) 45:2-7.
  27    8
          Stein Decl., Ex. 44.
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  6
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170824 Page 21 of
                                     134



   1    representations reflect a recognition that StarKist, DWI, and DWE are all part of
   2    the Dongwon Group. DWI considers Chairman Kim as the “Chairman of the
   3    Dongwon Group”—which it envisions as one company (as described on its
   4    website).9 And Moonsu, the former CFO of DWE (now the president of DWE),
   5    testified that he was “                                                   .”10
   6          Moonsu, along with Chairman Kim and Ingu, exerted authority and
   7    influence over DWI and its employees.
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  15          The concept of the “Dongwon Group” was also
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  21    9
          Stein Decl., Ex. 43.
  22
        10
           Stein Decl., Ex. 211 (Park (Moonsu) Dep.) 16:4-16 (emphases added).
        11
           Stein Decl., Ex. 213 (Shin Dep.) 56:4-19, 134:22-135:5.
  23    12
           Stein Decl., Ex. 213 (Shin Dep.) 58:9-59:12 (emphasis added).
  24    13
           Id. 256:14-258:21; Stein Decl., Ex. 45.
  25    14
           Stein Decl., Ex. 232 (DWI 30(b)(6) (Choi) Dep.) 21:22-22:1; 133:6-10); Stein
        Decl., Ex. 211 (Park (Moonsu) Dep.) 37:1-8.
  26    15
           There is no evidence StarKist or DWI ever paid DWE any consideration for
  27    guaranteeing its loans. DeMario Opening Report ¶ 29.
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  7
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170825 Page 22 of
                                     134



   1
   2                                                                                   The
   3    DPPs’ expert, Professor Gary Hamilton, Ph.D., who is an expert in organizational
   4    structure of Asian economies and family-owned business groups, opined that
   5    “DWI is a surrogate of the Dongwon Group, as is DWE. They both serve as
   6    surrogates for the group itself.” Hamilton Reply ¶ 34.
   7          DWE acted on DWI’s behalf.
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              Another example of DWI’s acquiescence to DWE is when
  23
  24
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        16
           Stein Decl., Exs. 46, 47 (emphases added to both).
        17
           Stein Decl., Ex. 211 (Park (Moonsu) Dep.) at 51:21-52:13.
  26    18
           Stein Decl., Ex. 211 (Park (Moonsu) Dep.) at 28:24-30:3, 31:5-15; Stein Decl.,
  27    Ex. 48.
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
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Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170826 Page 23 of
                                     134



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   6    Chairman Kim, Ingu, and other DWE officials all acted on DWI’s behalf.
   7         B. TUG and COSI
   8           TUG—the “Thai Union Group”—is the 100% owner of Thai Union North
   9    America (“TUNA”), which in turn owns 100% of COSI. DeMario Opening Report
  10    ¶¶ 12, 73-75. Thiraphong Chansiri (“Chansiri”) and Cheng Niruttinanon (aka
  11    “Han Seng”) control TUG and its member companies, including COSI.21 Chansiri,
  12    the President and CEO of TUG, holds 34 additional executive positions in TUG
  13    and associated firms, including as the Chairman of COSI’s Board of Managers and
  14    as the President of TUNA. Hamilton Report ¶ 39. TUG’s Executive Chairman
  15    (and Chansiri’s Uncle), Han Seng, also sits on COSI’s Board and also holds 22
  16    other executive positions within TUG. Id. ¶ 40.
  17
  18
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  22    19
           Stein Decl., Ex. 49.
  23
        20
           Stein Decl., Ex. 50.
        21
           TUG criticizes Plaintiffs for not deposing Han Seng, but it fails to note that after
  24
        Magistrate Judge Dembin ruled that Plaintiffs could not depose Dongwon’s
  25    “apex” executive, Chairman Kim (ECF No. 1355), TUG’s counsel told Plaintiffs
        that TUG would similarly file an “apex” letter if Plaintiffs sought to depose Han
  26
        Seng. Stein Decl. ¶ 2. Plaintiffs reserve the right to call Han Seng at trial.
  27    22
           Stein Decl., Ex. 214 (Blatt Dep.) 87:16-88:3.
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)    CASE NO. 15-MD-2670-JLS-MDD
                                                  9
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170827 Page 24 of
                                     134



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   6          Chansiri and Han Seng would also dole out assignments to COSI personnel.
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  14                      These anecdotes show the sort of influence and control TUG had
  15    over COSI.
  16          COSI’s CEO during the relevant period was Shue Wing Chan, Chansiri’s
  17    cousin and Han Seng’s nephew.
  18
        23
           Stein Decl., Ex. 51.
  19    24
            Stein Decl., Ex. 52 (as one COSI employee wrote, “[w]e are still awaiting
  20    answer from Thiraphong through Kevin on whether he will allow us to bid on
        this business”).
  21    25
           Stein Decl., Ex. 53. The DPPs’ expert, Marianne DeMario, estimates that
  22    TUG entities earned profits of at least $43 million on sales to COSI. DeMario
  23    Opening Report ¶ 85. There is also evidence that COSI could have saved money
        if its parent company had not forced it to buy from TUG entities. See id. ¶¶ 87-
  24    88; see also DeMario Rebuttal Report ¶¶ 46-64 (describing how during the relevant
  25    period, “COSI’s transfer prices have shifted as much as $131.9 million of COSI’s
        profit to its parent company and other related-parties in the TUG Entities.”).
  26    26
           Stein Decl., Ex. 54.
  27    27
           Stein Decl., Exs. 55, 56.
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
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Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170828 Page 25 of
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  13         C. Lion Entities and Bumble Bee
  14           1. Procedural History
  15           Plaintiffs first sought leave to name the Lion Entities as Defendants in late
  16    2017, which the Court granted. See, e.g., ECF No. 530. On September 5, 2018, the
  17    Court denied the Lion Entities’ motion to dismiss with regard to Lion Americas’
  18    alleged direct participation in the conspiracy but granted it with regard to alter ego
  19    allegations against Lion Americas and all claims against Lion Capital and Big
  20    Catch (though the Court found that Plaintiffs had alleged that Big Catch was Lion
  21    Capital’s alter ego). ECF No. 1358. The Court granted Plaintiffs leave to replead,
  22    and Plaintiffs filed their respective amended complaints on October 5, 2018. See,
  23    28
           See, e.g., Stein Decl., Ex. 57-59.
  24    29
           See, e.g., Stein Decl., Ex. 60; Hamilton Report ¶¶ 74-75.
  25    30
           Stein Decl., Ex. 215 (Chan Dep.) 49:10-15, 50:3-51:20). Thus, when TUG
        suggests it had no “authority over their subsidiaries’ packaged tuna pricing” this
  26
        is clearly not the case. TUG MP&A at 14-15.
  27    31
           Stein Decl., Ex. 61. See also Laby Report ¶¶ 40-42.
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
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Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170829 Page 26 of
                                     134



   1    e.g., ECF No. 1423. On January 4, 2019, the briefing related to the Lion Entities’
   2    subsequent renewed motion to dismiss was completed and that motion remains
   3    pending. ECF No. 1760. As a result, Magistrate Judge Dembin has denied
   4    discovery with respect to Lion Capital and Big Catch, as described in the
   5    Declaration of Elana Katcher.
   6          Because Plaintiffs have not had complete discovery for Lion Capital and Big
   7    Catch, it would be premature to rule on summary judgment as to these two entities.
   8    While Plaintiffs have been able to proceed with discovery from Lion Americas and
   9    have taken the depositions of Lion Capital partners Eric Lindberg, Jacob Capps,
  10    and Jeff Chang, all other discovery against Lion Capital itself remains stayed. For
  11    example, the only documents produced from the custody of Lyndon Lea are a
  12    limited number of documents that were produced in response to Plaintiffs’
  13    subpoena of Lion Capital as a non-party, and his deposition has not yet been taken.
  14    Without an opportunity to obtain discovery from Lion Capital, Plaintiffs have been
  15    deprived of essential facts to make their case against the Lion Entities. Accordingly,
  16    although Plaintiffs believe that the summary judgment in favor of Lion Capital is
  17    inappropriate based on the current limited factual record, Lion Capital’s Motion is
  18    also premature under Rule 56(d).
  19          2. Factual Background
  20          Lion Capital is a private equity firm, and Lion Capital’s U.S.-based office is
  21    named Lion Americas, which is primarily involved in managing Lion Capital’s
  22    investments in the United States. See Paris Decl., Ex. C. Bumble Bee was part
  23    Lion Capital’s Fund III (formed in 2010). Chang Decl. ¶ 21.
  24          The following key executives from these two Lion Entities were involved in
  25    Bumble Bee’s operations and served concurrently as both Lion Americas and Lion
  26    Capital directors and officers during the relevant time period: Eric Lindberg
  27    (Partner, Lion Capital and Director, Lion Americas), Jacob Capps (Partner, Lion
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  12
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170830 Page 27 of
                                     134



   1    Capital and President, Lion Americas), Jeff Chang (Partner, Lion Capital, and
   2    Principal, Lion Americas).
   3             The other key players are Lyndon Lea (Founding Partner/Managing
   4    Partner, Lion Capital), Ken Smialek (Partner, Lion Capital), Janet Dunlop (COO,
   5    Lion Capital) and Todd Bondy (Associate, Lion Americas).
   6             Plaintiffs refer to Lion Americas and Lion Capital together as “Lion” unless
   7    otherwise noted. They do so because there is no indication that Lindberg, Capps,
   8    or Chang ever made any attempt to distinguish their work for Lion Capital versus
   9    Lion Americas.32 As noted, they held positions at both firms during the relevant
  10    period.
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  25    32
             See, e.g., Stein Decl., Ex. 216 (Lindberg Dep.) 50:16-54:14; see also id. 54:18-20
  26
  27    33
             Stein Decl., Ex. 61.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)     CASE NO. 15-MD-2670-JLS-MDD
                                                  13
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170831 Page 28 of
                                     134



   1          Lion Capital assigned Lindberg, Capps, and Chang—the so-called “deal
   2    team”—to oversee the Bumble Bee investment, but they were also relatively new
   3    to Lion Capital.
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  10          While Lion argues without citation that Lindberg, Capps, and Chang had
  11    “unblemished track records and sterling reputations” (Lion MP&A at 3), and thus
  12    supposedly were left on their own to oversee Lion Capital’s investment of
  13    “hundreds of millions of dollars” (id.), the “deal team” assigned to the Bumble Bee
  14    transaction was comprised of individuals who had a relatively short track record
  15    with Lion.
  16
  17          Lion Capital portrays itself as a faraway parent that left its U.S. investments
  18    in the hands of its U.S. subsidiary—but that is far from the truth.
  19
  20    34
           See, id.; Stein Decl., Ex. 216 (Lindberg Dep.) 24:24-25:4, 25:16-26:22.
  21    35
           Stein Decl., Ex. 217 (Chang Dep.) 35:20-37:20.
  22    36
           Stein Decl., Ex. 218 (Capps Dep.) 19:2-4; 25:10-27:23; 29:11-30:11, 152:14-21.
  23
        37
           Stein Decl., Exs. 63-64.
        38
           See, e.g., Stein Decl., Ex. 216 (Lindberg Dep.) 26:23-27:7; 48:16-49:9; Stein
  24
        Decl., Ex. 218 (Capps Dep.) 43:11-46:14
  25
  26
         Stein Decl., Ex. 216 (Lindberg Dep.) 58:16-20; Stein Decl., Ex. 218 (Capps
        39

  27    Dep.) 88:19-89:18.
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  14
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170832 Page 29 of
                                     134



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  21    40
           Stein Decl., Ex. 216 (Lindberg Dep.) 58:3-14.
  22    41
           Stein Decl., Ex. 217 (Chang Dep.) 42:17-43:5.
  23
        42
           Stein Decl., Ex. 65 at 3; Stein Decl., Ex. 217 (Chang Dep.) 48:17-57:9; Stein
        Decl., Ex. 218 (Capps Dep.) 114:7-22, 155:10-156:19).
  24    43
           Stein Decl., Ex. 218 (Capps Dep.) 90:4-90:24; 107:11-109:13; 117:4-133:24;
  25    Stein Decl., Ex. (Exhibit 1642.pdf).
  26
        44
           Stein Decl., Ex. 218 (Capps Dep.) 133:25-138:18; Stein Decl., Ex. 66.
        45
           Stein Decl., Ex. 191 (emphases added).
  27
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  15
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170833 Page 30 of
                                     134



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   4          Immediately after the Bumble Bee acquisition, Lion Capital took steps to
   5    ensure that it was intimately involved in Bumble Bee’s day-to-day operations,
   6    management, and finances.
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  19          After the Bumble Bee purchase transaction closed, Lindberg, Capps, and
  20    Chang joined the Bumble Bee Board of Directors, along with Lea and Lion
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  22
  23                                        Stein Decl., Ex. 218 (Capps Dep.) 165:5-12).
  24    46
           Stein Decl., Ex. 191 (emphases added).
  25
        47
           Stein Decl., Ex. 68.
        48
           Stein Decl., Ex. 219 (Lischewski Dep.) 123:16-124:11.
  26    49
           Stein Decl., Ex. 220 (Cameron Dep.) 444:16-19, 444:25-445:4 448:13-17.
  27    50
           See, e.g., Stein Decl., Ex. 69.
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  16
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170834 Page 31 of
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   1    Capital’s COO Janet Dunlop.51
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   9          There are countless examples of Lion’s involvement.
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        51
           Stein Decl., Ex. 217 (Chang Dep.) 99:21-100:14; Stein Decl., Ex. 218 (Capps
  21    Dep.) 199:1-199:12). Lea was not a nominal Board member—he attended several
  22    meetings. Stein Decl., Exs. 70-74. When Lea could not make a Board meeting,
        he would be updated by Lindberg, Chang, and Capps about key points, either
  23    verbally or in writing. Stein Decl., Ex. 218 (Capps Dep.) 317:5-317:20.
  24    52
           Stein Decl., Ex. 216 (Lindberg Dep.) 287:18-288:16).
  25
        53
           Stein Decl., Ex. 75; Stein Decl., Ex. 255.
        54
           See, e.g., Stein Decl., Ex. 216 (Lindberg Dep.) 212:24-214:8; Stein Decl., Ex.
  26
        217 (Chang Dep.) 102:24-104:17. Stein Decl., Exs. 76, 77.
  27    55
           Stein Decl., Ex. 217 (Chang Dep.) 101:5-101:23
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  17
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170835 Page 32 of
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   3          Big Catch Cayman LP aka Lion/Big Catch Cayman LP (“Big Catch”) is a
   4    holding company established in November of 2010 that wholly owns Bumble Bee.58
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  20    56
           Stein Decl., Ex. 216 (Lindberg Dep.) 419:5-15, 426:11-427:7.
  21    57
           See Stein Decl., Ex. 220 (Cameron Dep.) 448:13-449:6-10.
  22
        58
           Stein Decl., Ex. 216 (Lindberg Dep.) 407:20-408:8, 410:8-13.
        59
           Stein Decl., Ex. 78.
  23    60
           Stein Decl., Ex. 216 (Lindberg Dep.) 37:3-38:5, 408:1-6, 409:4-8; Stein Decl.,
  24    Ex _ 217 (Chang Dep.) 72:15-25, 131:12-132:3; Stein Decl., Ex. 79.
  25
        61
           Stein Decl., Ex. 217 (Chang Dep.) 95:22-96:4.
        62
           Stein Decl., Ex. 67.
  26    63
           Stein Decl., Ex. 78; 220 Lischewski Dep. 236:12-238:4; Stein Decl., Ex. 218
  27    (Capps Dep.) 362:3-24; Stein Decl., Ex. 216 (Lindberg Dep.) 408:9-14.
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  18
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170836 Page 33 of
                                     134



   1          D. The Conspiracy
   2             1. The Two Levels of the Conspiracy
   3             There are two levels to the conspiracy involved in this case. See In re TFT-
   4    LCD (Flat Panel) Antitrust Litig., 599 F. Supp. 2d 1179, 1184 (N.D. Cal. 2009)
   5    (describing how complex price-fixing conspiracies are often carried out “by both
   6    executives and subordinate employees,” and “implemented by subsidiaries and
   7    distributors within a corporate family.”).
   8             The first level involves the Defendants’ U.S. subsidiaries. There is no dispute
   9    that Bumble Bee, StarKist, and COSI each conspired to fix, raise, and maintain the
  10    prices of packaged tuna. The salient facts about this level of the conspiracy are
  11    contained in Plaintiffs’ Summary Judgment Motions (see ECF Nos. 1976, 1993,
  12    2009, 2035). It is important to note, however, that Bumble Bee pleaded guilty to
  13    violations of the Sherman Act, for the period of “
  14                                                                    ”64
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             Stein Decl., Ex. 1.
  27    65
             Stein Decl., Ex. 10.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)    CASE NO. 15-MD-2670-JLS-MDD
                                                  19
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170837 Page 34 of
                                     134



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  15                     COSI’s employees have leniency with the Department of Justice.
  16    Lischewski has been criminally indicted and currently on trial.
  17             The second level of the conspiracy involves the Parent Entities—each of
  18    which played a pivotal role in carrying out the first level of the conspiracy. As
  19    discussed below, the Parent Entities ensured that the U.S. subsidiaries kept prices
  20    elevated and prevented their subsidiaries from dropping prices
  21                          . The Class Plaintiffs contend that the second level of the
  22    conspiracy commenced by at least November of 2010; the DAPs allege that it began
  23    in 2008. In the following section, Plaintiffs first discuss the core-allegations about
  24    the Parent Entities’ involvement and participation in the conspiracy, then the DAPs
  25    describe the facts supporting that the conspiracy commenced even earlier.
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  27    66
             Stein Decl., Ex. 11.
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  20
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170838 Page 35 of
                                     134



   1          2. The Parent Entities’ Involvement in the Conspiracy.
   2             a. The Origins of the 2010-2015 Conspiracy
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  12          Additionally, in late 2010, Defendants were committed to their $20 million
  13    joint category growth campaign: Tuna the Wonderfish, which they launched at a
  14    time when “[t]una was losing relevance” as per-capita consumption of canned tuna
  15    had plummeted.71
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        67
           See Stein Decl., Ex. 216 (Lindberg Dep.) 65:11-18, 418:18-419:23.
        68
            Stein Decl., Ex. 80. A 2010 presentation explained: “[h]istorically [the
  19
        company is] able to generate profit during times of fish price volatility,” noting
  20    that “[i]n periods of rising fish costs, the Company attempts to raise prices prior
        to the receipt and processing of higher-priced raw materials” while “[i]n periods
  21
        of declining fish costs, the Company seeks to delay its price reductions to market,
  22    generating additional profitability.” Stein Decl., Ex. 81 at 19.
  23
        69
           Stein Decl., Ex. 201 (Tharp Dep.) 38:22-39:6; 41:8-13; 95:22-96:7; Stein Decl.,
        Ex. 221 (Park (Ingu) Dep.) 43:3-18; Stein Decl., Ex. 211 (Park (Moonsu) Dep.)
  24    28:24-29:6, 29:25-30:3; 315:15; Stein Decl., Ex. 210 (Choe Dep.) 25:16-34:10.
  25    70
           Stein Decl., Ex. 199 (Binotto Dep.) 304:9-305:19; Stein Decl., Ex. 221 (Park
        (Ingu) Dep.) 72:15-23; Stein Decl., Ex. 82.
  26    71
           Stein Decl., Ex. 256, Stuart Elliott, Time to Eat Tuna? ‘Wonder’ No More, N.Y.
  27    TIMES (Mar. 3, 2011)
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  21
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170839 Page 36 of
                                     134



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             Stein Decl., Ex. 16.
        74
             Id.
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  27    75
             Stein Decl., Ex. 216 (Lindberg Dep.) 98:11-17.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)    CASE NO. 15-MD-2670-JLS-MDD
                                                  22
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170840 Page 37 of
                                     134
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170841 Page 38 of
                                     134



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        80
           Stein Decl., Ex. 87 (emphases added)
        81
           Stein Decl., Ex. 216 (Lindberg Dep.) 88:18-88:23).
  23    82
           Stein Decl., Ex. 217 (Chang Dep.) 159:19-160:4; 161:12-162:3; 169:1-172:18;
  24    Stein Decl., Ex. 218 (Capps Dep.) 185:19-187:16.
  25
        83
           Stein Decl., Ex. 88.
        84
           Stein Decl., Ex. 89.
  26    85
           Id.; Stein Decl., Ex. 221 (Park (Ingu) Dep.) 110:6-25; Stein Decl., Ex. 216
  27    (Lindberg Dep.) 120:15-18.
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  24
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170842 Page 39 of
                                     134



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  21    86
           Stein Decl., Ex. 89.
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        87
           Stein Decl., Ex. 216 Lindberg Dep. 144:1-13.
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           Stein Decl., Ex. 90.
  23    89
           Ex. 219 (Lischewski Dep.)
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        90
           Stein Decl., Ex. 6 (Lischewski indictment)
  26    91
           Stein Decl., Ex. 91.
  27    92
           See Stein Decl., Ex. 199 (Binotto Dep.) 302:4-304:14.
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
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Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170843 Page 40 of
                                     134



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  19    93
             Stein Decl., Ex. 91.
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  24    95
           Stein Decl., Ex. 92; Stein Decl., Ex. 216 (Lindberg Dep.) 126:17-127:15. Stein
  25    Decl., Ex. 222 (Chansiri Dep). 209:1-211:9, 215:5-7, 216:22-217:22).
        96
           Stein Decl., Ex. 216 (Lindberg Dep.) 127:12-25.
  26    97
           Stein Decl., Ex. 219 (Lischewski Dep.) 119:25-123:4
  27    98
           Stein Decl., Ex. 218 (Capps Dep.) 187:18-20.
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  26
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170844 Page 41 of
                                     134



   1            These parent-level meetings were crucial to the conspiracy, since the owners
   2    of these companies expressly or implicitly agreed to reduce competition in the
   3    packaged tuna industry.
   4               c. Preparation for the 2011 Price Increase
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  21    99
             Stein Decl., Ex. 93.
  22    100
              Id.; see also Stein Decl., Ex. 211 Park (Moonsu) Dep. 113:9-114:5 (
  23
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        101
            Stein Decl., Ex. 94; Stein Decl., Ex. 222 Chansiri Dep. 226:18-23, 230:19-21,
        231:3-18.
  26    102
            Stein Decl., Ex. 54.
  27    103
            Stein Decl., Ex. 95.
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)      CASE NO. 15-MD-2670-JLS-MDD
                                                  27
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170845 Page 42 of
                                     134



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  21    104
            Stein Decl., Ex 96.
  22    105
            Stein Decl., Ex. 97.
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        106
            Stein Decl., Ex. 220 (Cameron Dep.) 446:23-448:7

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        107
              Stein Decl., Ex. 223 (Worsham Dep.) 105:6-21; 106:3-24.
        108
              Stein Decl., Ex. 98; Stein Decl., Ex. 219 (Lischewski Dep.) 139:3-140:1
  26
  27    109
              Stein Decl., Ex. 99.
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  28
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170846 Page 43 of
                                     134



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  15             d. The Conspiracy Continues
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        110
            Stein Decl., Ex. 100.
        111
            Stein Decl., Ex. 26 (StarKist Price Increase); Stein Decl., Ex. 101 (Bumble Bee
  24
        Price Increase).
  25    112
            Stein Decl., Ex. 102.
  26    113
            As Bumble Bee’s 30(b)(6) witness explained,
  27
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  29
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170847 Page 44 of
                                     134



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  22    114
            Stein Decl., Ex. 103.
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        115
            See Stein Decl., Ex. 219 (Lischewski Dep.) 147:19-150:15

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        116
            Stein Decl., Ex. 221 (Park (Ingu) Dep.) 137:2-8.
  26    117
            Stein Decl., Ex. 221 (Park (Ingu) Dep.) 137:23-138:9.
  27    118
            Stein Decl., Ex. 104.
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  30
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170848 Page 45 of
                                     134



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  24    119
            Stein Decl., Ex. 105.
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            Stein Decl., Ex. 106.
        121
            Stein Decl., Ex. 107.
  26    122
            Stein Decl., Ex. 205 (Hodge Dep. 147:7-148:10.)
  27    123
            Stein Decl., Ex. 108.
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  31
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170849 Page 46 of
                                     134
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170850 Page 47 of
                                     134



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  24    130
            Stein Decl., Ex. 111.
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        131
            Stein Decl., Ex. 112; see also Stein Decl., Ex. 18.
        132
            Stein Decl., Ex. 113.
  26    133
            Stein Decl., Ex. 114.
  27    134
            Stein Decl., Ex. 218 (Capps Dep.) 256:10-18, 257:18-259:25.
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  33
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170851 Page 48 of
                                     134



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            Stein Decl., Ex. 115.
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            Stein Decl., Ex. 116.
  26    137
            Stein Decl., Ex. 117.
  27    138
            Stein Decl., Ex. 118.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  34
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170852 Page 49 of
                                     134



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            Stein Decl., Ex. 119-21.
  21    140
            Stein Decl., Ex. 122.
  22    141
            Stein Decl., Ex. 123.
  23    142
            Stein Decl., Ex. 219 (Lischewski Dep.) 170:3-5-171:21
  24    143

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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  35
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170853 Page 50 of
                                     134



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  21    144
            Stein Decl., Ex. 124. The Department of Justice identified the whistleblower
  22    as Charles Simmons.
        145
            Stein Decl., Ex. 125; Stein Decl., Ex. 257 (Declaration of Bumble Bee’s
  23    General Counsel); see also Stein Decl., Ex. 196.
  24    146
            Stein Decl., Ex. 216 (Lindberg Dep.216 216 (Lindberg Dep.) 351:3-352:2;
  25    Stein Decl., Ex. 218 (Capps Dep.) 293:7-25.
        147
            Stein Decl., Ex. 193; Stein Decl., Ex. 217 (Chang Dep.) (177:3-192:6).
  26    148
            Stein Decl., Ex. 218 (Capps Dep.) 210:18-215:25.
  27    149
            Stein Decl., Ex. 194.
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  36
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170854 Page 51 of
                                     134
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170855 Page 52 of
                                     134



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  17    155
              See, e.g., Stein Decl., Ex. 219 (Lischewski Dep.) 179:6-184:6
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              Stein Decl., Ex. 130.
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  24    157
            Stein Decl., Ex. 132.
  25    158
            Stein Decl., Ex. 222 (Chansiri Dep.) 243:3-6; 264:5-8, 265:15-17; Stein Decl.,
  26    Ex. 216 (Lindberg Dep.) 150:2-18; 261:13-262:7, 262:21-24, 317:13-25; Stein
        Decl., Ex. 133 (Lindberg also
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)     CASE NO. 15-MD-2670-JLS-MDD
                                                  38
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170856 Page 53 of
                                     134



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  22    159
            Stein Decl., Ex. 216 (Lindberg Dep.) 256:19-272:5.
  23    160
            Stein Decl., Ex. 134.
  24    161
            Stein Decl., Ex. 135.
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            Stein Decl., Ex. 225 (Cho Dep.) 313:16-317:13; Stein Decl., Ex. 29.
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            Stein Decl., Ex. 136.
  26    164
            Stein Decl., Ex. 137.
  27    165
            Stein Decl., Ex. 138.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  39
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170857 Page 54 of
                                     134



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  24    166
            Stein Decl., Ex. 139.
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            Stein Decl., Ex. 216 (Lindberg Dep.) 322:1-326:3.
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            Stein Decl., Ex. 140.
  26    169
            Stein Decl., Ex. 141.
  27    170
            Stein Decl., Ex. 213 (Shin Dep.) 116:16-127:17; Stein Decl., Ex. 142.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  40
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170858 Page 55 of
                                     134



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  15    171
            Id.; see also Stein Decl., Ex. 213 (Shin Dep.) 176:19-177:1.
  16    172
            Stein Decl., Ex. 221 (Park (Ingu) Dep.) 78:4-79:22.
  17    173
            See, e.g., Stein Decl., Ex. 219 (Lischewski Dep.) 187:25-189:2
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  19    174
            Stein Decl., Ex. 143 at 10.
  20    175
            Stein Decl., Ex. 144 (emphases added).
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        176
            Id. (emphases added); see also Stein Decl., Ex. 222 (Chansiri Dep.) 175:14-
        186:21; Stein Decl., Ex. 209 (TUG 30(b)(6) (Ayrle) Dep.) 272:2-275:10-19.
  22    177
            Stein Decl., Ex. 145. Thus, contrary to TUG’s argument that Plaintiffs are
  23    only relying on communications between the Parent Entities to establish their
        price-fixing claims (TUG MP&A at 18), there is also evidence that Chansiri and
  24
        Lischewski met in person during the relevant period.
  25    178
            See, e.g., Stein Decl., Ex. 219 (Lischewski Dep.) 190:20-192:6-8 (
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  41
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170859 Page 56 of
                                     134



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   8             e. Pre-Nov. 2010
   9          Prior to Lion Capital’s purchase of Bumble Bee, there is evidence that TUG
  10    and Dongwon were already conspiring.
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            Stein Decl., Ex. 146 (emphases added).
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            Stein Decl., Ex. 147.
  26    181
            Stein Decl., Ex. 148.
  27    182
            Stein Decl., Ex. 149.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  42
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170860 Page 57 of
                                     134



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   9    III.     SUMMARY JUDGMENT STANDARDS
  10             There is no heightened standard for antitrust plaintiffs at summary judgment.
  11    See Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 468 (1992). Summary
  12    judgment is only appropriate where “the movant shows that there is no genuine
  13    dispute as to any material fact and the movant is entitled to judgment as a matter
  14    of law.” Fed. R. Civ. P. 56(a). And the Court must “view the facts and draw
  15    factual inferences in favor of [] the non-moving party.” Stanislaus Food Prods. Co. v.
  16    USS-POSCO Indus., 803 F.3d 1084, 1088 (9th Cir. 2015). At summary judgment,
  17    “the judge’s function is not [] to weigh the evidence and determine the truth of the
  18    matter but to determine whether there is a genuine issue for trial.” Anderson v.
  19    Liberty Lobby, Inc., 477 U.S. 242, 249 (1986).
  20             The specific standards for the Sherman Act Claims (and related state law
  21    claims) as well as alter ego and agency are set forth below.
  22             Additionally, Plaintiffs have submitted the Katcher Declaration in support of
  23    their contention that the Court should deny summary judgment to Lion Capital
  24    and Big Catch pursuant to Federal Rule of Civil Procedure 56(d). Under Rule
  25    56(d), the Court may defer or deny a motion for summary judgment where the
  26    183
              Stein Decl., Ex. 150.
  27    184
              Stein Decl., Ex. 151.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  43
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170861 Page 58 of
                                     134



   1    “nonmovant shows by affidavit or declaration that, for specified reasons, it cannot
   2    present facts essential to justify its opposition.” “Courts generously grant Rule
   3    56(d) motions, ‘unless the non-moving party has not diligently pursued discovery
   4    of the evidence.’” Rearden LLC v. Crystal Dynamics, Inc., No. 17-CV-04187-JST,
   5    2018 WL 3023450, at *1 (N.D. Cal. June 18, 2018) (citations omitted). The Ninth
   6    Circuit has emphasized that summary judgment must be denied where the
   7    nonmovant was not provided with an opportunity to gather discovery. Head v.
   8    Wilkie, No. 17-55942, 2019 WL 4213764, at *2 (9th Cir. Sept. 5, 2019); Jacobson v.
   9    U.S. Dep’t of Homeland Sec., 882 F.3d 878, 883 (9th Cir. 2018). A premature
  10    summary judgment is also inappropriate in cases that are heavily fact dependent
  11    (Head, 2019 WL 4213764, at *2), or where plaintiffs intend to rely on material that
  12    is the subject of outstanding discovery requests (Visa Int’l Serv. Ass’n v. Bankcard
  13    Holders of Am., 784 F.2d 1472, 1475 (9th Cir. 1986)).
  14          To gain relief under the Rule, “[t]he requesting party must show [that]: (1) it
  15    has set forth in affidavit form the specific facts it hopes to elicit from further
  16    discovery; (2) the facts sought exist; and (3) the sought-after facts are essential to
  17    oppose summary judgment.” Family Home & Fin. Ctr., Inc. v. Fed. Home Loan Mortg.
  18    Corp., 525 F.3d 822, 827 (9th Cir. 2008). This does not require that the nonmovant
  19    “predict with accuracy precisely what further discovery will reveal; the whole point
  20    of discovery is to learn what a party does not know or, without further information,
  21    cannot prove.” Stevens v. Corelogic, Inc., 899 F.3d 666, 678 (9th Cir. 2018), cert.
  22    denied, 139 S. Ct. 1222 (2019). Ms. Katcher’s supporting declaration addresses
  23    these criteria and describes why summary judgment is premature given the state of
  24    discovery against Lion Capital and Big Catch.
  25    IV.   ARGUMENT REGARDING CONSPIRACY PARTICIPATION
  26          Defendants do not dispute that: (1) there was a price-fixing conspiracy in this
  27    case; (2) parent companies can participate in a conspiracy even when it is their
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  44
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170862 Page 59 of
                                     134



   1    subsidiaries that actually compete in the relevant market (see In re Vitamins Antitrust
   2    Litig., 270 F. Supp. 2d 15, 24, 28 (D.D.C. 2003) (finding holding company that did
   3    not itself sell the relevant product was nevertheless a co-conspirator))185; or (3) the
   4    Parent Defendants stood to directly benefit from their subsidiaries’ participation in
   5    the conspiracy, giving them a plausible economic reason to conspire. Nonetheless,
   6    the Parent Defendants ask the Court to step into the role of fact finder and make
   7    the conclusive determination that they did not knowingly participate in or
   8    acquiesce to that conspiracy, despite the economic benefits that they reaped from
   9    it. See United States v. Paramount Pictures, 334 U.S. 131, 161 (1948) (“acquiescence
  10    in an illegal scheme is as much a violation of the Sherman Act as the creation and
  11    promotion of one.”).
  12            Defendants have not met their initial burden to show plausible and justifiable
  13    reasons for their conduct or that their participation in the conspiracy is
  14    “economically implausible.” And, furthermore, there is abundant evidence that
  15    the Parent Entities knew about their subsidiaries’ conspiracy and joined it. The
  16    Parent Entities cannot show that summary judgment is appropriate.
  17          A. Summary Judgment Standard in an Antitrust Case
  18            In the antitrust context, “[a]n agreement to restrain trade may be established
  19    by direct or by circumstantial evidence.” Stanislaus, 803 F.3d at 1088 (citation
  20    omitted). “Direct” evidence “is evidence tantamount to an acknowledgment of
  21    guilt” whereas circumstantial evidence “is everything else including ambiguous
  22    statements. These are not to be disregarded because of their ambiguity; most cases
  23    are constructed out of a tissue of such statements and other circumstantial
  24    185
           A defendant can participate in an antitrust conspiracy even if it does not
  25    compete in the sale of the relevant product. See, e.g., Denny’s Marina, Inc. v. Renfro
  26    Prods., Inc., 8 F.3d 1217, 1220 (7th Cir. 1993); United States v. MMR Corp. (LA),
        907 F.2d 489, 498 (5th Cir. 1990); In re Mid-Atl. Toyota Antitrust Litig., 560 F.
  27    Supp. 760, 777-78 (D. Md. 1983).
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  45
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170863 Page 60 of
                                     134



   1    evidence.” In re High Fructose Corn Syrup Antitrust Litig., 295 F.3d 651, 662 (7th Cir.
   2    2002) (“High Fructose”). However, “[a]ll evidence, including direct evidence, can
   3    sometimes require a factfinder to draw inferences to reach a particular conclusion,
   4    though ‘[p]erhaps on average circumstantial evidence requires a longer chain of
   5    inferences.’” In re Publ’n Paper Antitrust Litig., 690 F.3d 51, 64 (2d Cir. 2012)
   6    (quoting Sylvester v. SOS Children’s Vills. Ill., Inc., 453 F.3d 900 (7th Cir. 2006)
   7    (Posner, J.)) (alterations in original). Where there is “direct evidence that [a
   8    defendant] entered into illegal price-fixing agreements . . . summary judgment
   9    would, of course, be inappropriate[.]” In re Citric Acid Litig., 191 F.3d 1090, 1093
  10    (9th Cir. 1999) (citations omitted) (“Citric Acid II”).
  11          However, an explicit agreement is “not a necessary part of a Sherman Act
  12    conspiracy.” United States v. Gen. Motors Corp., 384 U.S. 127, 142-43 (1966); Cal. ex
  13    rel. Harris v. Safeway, Inc., 651 F.3d 1118, 1132-33 (9th Cir. 2011) (the Sherman Act
  14    proscribes agreements to restrain trade, “whether express or implicit [or] whether
  15    by formal agreement or otherwise.”).
  16          When relying on circumstantial evidence, plaintiffs need only provide
  17    enough evidence that “tends to exclude the possibility that [defendants] acted
  18    independently.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 588
  19    (1986) (emphases added).       The “tends to exclude” standard does not require
  20    plaintiffs to “exclude all possibility that the manufacturers acted independently[.]”
  21    Toys “R” Us, Inc. v. FTC, 221 F.3d 928, 934-35 (7th Cir. 2000); GSI Tech., Inc. v.
  22    Cypress Semiconductor Corp., No. 5:11-CV-03613-EJD, 2015 WL 365491, at *5 (N.D.
  23    Cal. Jan. 27, 2015) (denying summary judgment because though “none of the
  24    evidence necessarily excludes the possibility that Cypress arrived at decisions on its
  25    own . . . . , all that is necessary to avoid summary judgment is evidence that
  26    reasonably tends to exclude that possibility.”).
  27          The facts of Matsushita are key to understanding the Supreme Court’s
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)    CASE NO. 15-MD-2670-JLS-MDD
                                                  46
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170864 Page 61 of
                                     134



   1    holding. Matsushita involved a group of American corporations that made or sold
   2    consumer electronic products and claimed that their Japanese counterparts were
   3    engaging in a 20-year conspiracy to price below cost in the United States in the hope
   4    of expanding their market share sometime in the future. Matsushita, 475 U.S. at
   5    577-82. In reviewing a grant of summary judgment, the Supreme Court highlighted
   6    the difficulty with the plaintiffs’ theory, namely, that defendants had every incentive
   7    not to engage in the alleged conduct, which required them to sustain losses for decades
   8    with no foreseeable profits—and thus, because the plaintiffs could offer no “rational
   9    motive to conspire” (id. at 597), the Court held that a reasonable jury could not
  10    return a verdict for the plaintiffs and that summary judgment was appropriate. Id.
  11    at 587-88. The Court, however, ultimately remanded to give the plaintiffs the
  12    opportunity to come forward evidence to support their theory of predatory pricing.
  13    Id.
  14          Following Matsushita, the Ninth Circuit has developed a two-part test to
  15    consider whether circumstantial evidence “tends to exclude” lawful behavior.
  16    First, the defendant can “rebut an allegation of conspiracy by showing a plausible
  17    and justifiable reason for its conduct that is consistent with proper business
  18    practice.’ . . . [Second] The burden then shifts back to the plaintiff to provide specific
  19    evidence tending to show that the defendant was not engaging in permissible
  20    competitive behavior.” Citric Acid II, 191 F.3d at 1094 (internal citation omitted).
  21    In other words, “[t]he Ninth Circuit has interpreted Matsushita to mean that where
  22    a defendant has demonstrated a plausible business reason for its conduct, ‘a plaintiff
  23    who relies solely on circumstantial evidence of conspiracy . . . must produce
  24    evidence tending to exclude the possibility that defendants acted independently.’”
  25    In re High-Tech Emp. Antitrust Litig., No. 11-CV-02509-LHK, 2014 WL 1283086, at
  26    *1 (N.D. Cal. Mar. 28, 2014) (“High Tech”) (citing Citric Acid II, 191 F.3d at 1096).
  27    Defendants continue to bear the initial burden to show that they had plausible and
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)    CASE NO. 15-MD-2670-JLS-MDD
                                                  47
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170865 Page 62 of
                                     134



   1    justifiable reasons for their conduct.
   2          Although Defendants emphasize the 1999 Citric Acid II case, they noticeably
   3    ignore more recent 2015 precedent: Stanislaus Food Products Co. v. USS-POSCO
   4    Industries, 803 F.3d 1084 (9th Cir. 2015) (authored by Judge M. Margaret
   5    McKeown, who sat on the Citric Acid panel). Stanislaus explains that a defendant
   6    may satisfy its initial burden by “demonstrat[ing] that the potential benefit of the
   7    scheme ‘is just not apparent,’ such that the defendant’s ‘participation in the alleged
   8    conspiracy is economically implausible.’” Home Depot, U.S.A., Inc. v. E.I. DuPont de
   9    Nemours & Co., No. 16-CV-04865-BLF, 2019 WL 3804667, at *4 (N.D. Cal. Aug.
  10    13, 2019) (quoting Stanislaus, 803 F.3d at 1091). Stanislaus makes clear that in
  11    determining whether the evidence “tends to exclude” independent (as opposed to
  12    conspiratorial) conduct, the Ninth Circuit (like the Supreme Court in Matsushita)
  13    allows for broader inferences in the non-moving party’s favor when the plaintiff’s
  14    claim makes economic sense. See Stanislaus, 803 F.3d at 1089. Indeed, Stanislaus
  15    highlighted the Matsushita Court’s statement that “‘if the factual context renders
  16    [plaintiffs’] claim implausible—if the claim is one that simply makes no economic
  17    sense—[plaintiffs] must come forward with more persuasive evidence to support
  18    [their] claim than would otherwise be necessary.’” Id. (quoting Matsushita, 475 U.S.
  19    at 587); see also Home Depot, 2019 WL 3804667, at *7 (“The factual context . . . and
  20    the economic plausibility of a defendant’s motivation to conspire play an explicit,
  21    central role in the standards set forth in Matsushita.”; “[i]mplausible claims require
  22    a ‘more persuasive’ showing ‘that tends to exclude the possibility’ of independent
  23    action.”) (citations omitted).186
  24    186
           But the Supreme Court has “not h[e]ld that if the moving party enunciates any
  25    economic theory supporting its behavior” it is entitled to summary judgment.
  26    Eastman Kodak, 504 U.S. at 468-69. Only if “the plaintiff’s theory is economically
        senseless” and “no reasonable jury could find in its favor” should “summary
  27    judgment [] be granted.” Id.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  48
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170866 Page 63 of
                                     134



   1          Courts in the Ninth Circuit have also recognized that once the existence of a
   2    conspiracy has been established (as the guilty pleas and Defendants’ interrogatory
   3    responses establish here), only a “slight connection” to the conspiracy is necessary
   4    to find the defendant liable. United States v. Grasso, 724 F.3d 1077, 1086 (9th Cir.
   5    2013) cert. denied Grasso v. United States, 134 S. Ct. 484 (2013) (“Once the existence
   6    of the conspiracy is shown, evidence establishing . . . a knowing connection of the
   7    defendant with the conspiracy, even though the connection is slight, is sufficient to
   8    convict him of knowing participation in the conspiracy.”); United States v. Reed, 575
   9    F.3d 900, 924 (9th Cir. 2009) (same); see also Precision Assocs., Inc. v. Panalpina World
  10    Transp. (Holding) Ltd., No. 08-CV-00042 JG VVP, 2012 WL 3307486, at *2
  11    (E.D.N.Y. Aug. 13, 2012) (with respect to liability of parent corporations, where
  12    “only ‘slight evidence’ is necessary to connect a defendant to an antitrust conspiracy
  13    once the conspiracy is established, it follows that the pleading burden may be more
  14    easily satisfied where, . . . there have been guilty pleas to criminal charges arising
  15    out of the same events.”) (quotations omitted).
  16          For example, in Grasso, the defendant argued that his involvement was
  17    limited to the legitimate aspects of certain real estate transactions, and he was
  18    unaware of any fraudulent conduct to inflate the value of the property at issue. 724
  19    F.3d at 1087. The Court, however, cited evidence showing that Grasso knew the
  20    objectives of the fraudulent scheme, including evidence showing how he helped his
  21    co-conspirators convince lenders that various properties were sold for more than
  22    their actual sales prices and was an expert in his field and therefore would
  23    understand that alleged co-conspirators were not innocently carrying out illegal
  24    activities. Id. The Court found that this evidence provided the “slight connection”
  25    to the pre-established conspiracy to convict Grasso. See also id. at 1096-97 (Berzon,
  26    J., concurring in part, dissenting in part) (explaining that the slight evidence rule
  27    “is ultimately best understood to mean that if someone joins the conspiracy, ‘slight’
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)    CASE NO. 15-MD-2670-JLS-MDD
                                                  49
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170867 Page 64 of
                                     134



   1    activity to accomplish its objectives is enough”).
   2          Relatedly, it has long been held that in antitrust cases, “plaintiffs should be
   3    given the full benefit of their proof without tightly compartmentalizing the various
   4    factual components and wiping the slate clean after scrutiny of each . . . [T]he
   5    character and effect of a conspiracy are not to be judged by dismembering it and
   6    viewing its separate parts, but only by looking at it as a whole.” In re High-Tech
   7    Emp. Antitrust Litig., 856 F. Supp. 2d 1103, 1118 (N.D. Cal. 2012) (quoting Cont’l
   8    Ore Co., 370 U.S. at 699). Indeed, “[i]t is well established that, for purposes of
   9    coconspirator culpability, members of a conspiracy need not be aware of the
  10    existence or activities of other members.” United States v. Wallace, 759 F.3d 486, 492
  11    (5th Cir. 2014) (citing United States v. Booker, 334 F.3d 406, 411 (5th Cir. 2003)); see
  12    also Beltz Travel Serv., Inc. v. Int’l Air Transp. Ass’n, 620 F.2d 1360, 1367 (9th Cir.
  13    1980) (“Participation by each conspirator in every detail in the execution of the
  14    conspiracy is unnecessary to establish liability, for each conspirator may be
  15    performing different tasks to bring about the desired result.”). As recently explained
  16    by the Ninth Circuit in Arandell Corp. v. Centerpoint Energy Services, Inc., 900 F.3d
  17    623, 628 (9th Cir. 2018) in reversing a grant of summary judgment:
  18
              “While particularly true of price-fixing conspiracies, it is well
  19          recognized law that any conspiracy can ordinarily only be proved by
  20          inferences drawn from relevant and competent circumstantial
              evidence, including the conduct of the defendants charged.” [Esco
  21          Corp. v. United States, 340 F.2d 1000] at 1007 [(9th Cir. 1965)]. Thus,
  22          even in the criminal context, the government “need show neither
              direct contact nor explicit agreement among all of the alleged
  23          conspirators.” United States v. Reese, 775 F.2d 1066, 1071 (9th Cir.
  24          1985). Nor must the government show “that each defendant or all
              defendants must have participated in each act or transaction.” Esco,
  25          340 F.2d at 1006. Involvement “in but two of ten allegedly
  26          conspirational [sic] situations does not absolve [a defendant] from
              participation in the entire conspiracy if its involvement in the two was
  27          unlawful and knowingly and purposely performed.” Id. at 1008. Nor
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  50
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170868 Page 65 of
                                     134



   1          can a single defendant “join a continuing conspiracy long after others
              have commenced it, or partially carried it out, and thereby claim
   2          immunity either for his actions, or for those of others taking place
   3          before or after his active participation, as long as he remains an active
              participant.” Id. at 1006 (emphasis added and citation omitted).
   4
   5          Finally, the Supreme Court has admonished that “summary procedures
   6    should be used sparingly in complex antitrust litigation where motive and intent
   7    play leading roles, the proof is largely in the hands of the alleged conspirators, and
   8    hostile witnesses thicken the plot.” Poller v. Columbia Broad. Sys., Inc., 368 U.S. 464,
   9    473 (1962). “It is only when the witnesses are present and subject to cross-
  10    examination that their credibility and the weight to be given their testimony can be
  11    appraised. Trial by affidavit is no substitute for trial by jury which so long has been
  12    the hallmark of ‘even handed justice.” Id. “The Supreme Court has not . . .
  13    approved summary judgments that rest on credibility determinations.” McLaughlin
  14    v. Liu, 849 F.2d 1205, 1209 (9th Cir. 1988).
  15       B. Defendants Have Not Met Their Burden to Show There Are No Disputes
  16          of Material Fact.
  17          The U.S. Defendants have already admitted to a price-fixing conspiracy in
  18    this case, from which the Parent Entities unquestionably stood to gain—and as the
  19    record reflects, the evidence undoubtedly provides enough of a basis for a
  20    reasonable jury to conclude they in fact did join the conspiracy.
  21          As to StarKist, Plaintiffs’ experts have determined that from 2011 to 2015,
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  51
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170869 Page 66 of
                                     134



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            Stein Decl., Ex. 144; Stein Decl., Ex. 209 (TUG 30(b)(6) (Ayrle) Dep.) 274:3-
        275:19.
  26    188
            Stein Decl., Ex. 216 (Lindberg Dep.) 35:10-15; 36:1-5.
  27    189
            Stein Decl., Ex. 216 (Lindberg Dep.) 37:3-38:5.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  52
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170870 Page 67 of
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   3                           Thus, Lion Capital was also motivated to maximize Bumble
   4    Bee’s profits and did so through its employees’ acts to further the conspiracy for
   5    Lion and their own personal benefit.
   6            Under such circumstances, where Defendants obviously stood to gain from
   7    higher prices produced by the alleged conspiracy, Defendants “bear[] a substantial
   8    burden in showing that [they are] entitled to summary judgment.” Eastman Kodak,
   9    504 U.S. at 469; see also id. at 478 (noting that the “alleged conduct—higher service
  10    prices and market foreclosure—is facially anticompetitive and exactly the harm that
  11    antitrust laws aim to prevent. In this situation, Matsushita does not create any
  12    presumption in favor of summary judgment for the defendant.”); Stanislaus, 803
  13    F.3d at 1089-90 (emphasizing the importance of “whether the alleged conspirators
  14    would have had a rational motivation to conspire.”). Thus, unlike in Matsushita or
  15    Citric Acid, the Defendants cannot rebut conspiracy allegations by arguing the price
  16    increases were against Defendants’ interests and didn’t make economic sense. Id.
  17    at 1090 (recognizing a key motive of conspiracy is “being able to charge higher
  18    prices in the absence of meaningful competition” and that “POSCO, a joint owner
  19    of UPI . . . similarly stood to gain by reaping the benefit of those increased prices.”).
  20    The record evidence disproves Defendants’ contentions.
  21            Moreover, because the U.S. subsidiaries admit they reached agreements in
  22    violation of the antitrust laws and thus were not engaging in independent conduct,
  23    there is no issue about whether the ultimate economic conduct in this case (the
  24    increased pricing) was independent or interdependent.           The only outstanding
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              Stein Decl., Ex. 216 (Lindberg Dep.) 387:4-388-10; 130:2-11 (

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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)    CASE NO. 15-MD-2670-JLS-MDD
                                                  53
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170871 Page 68 of
                                     134



   1    question is whether the Parent Entities knowingly joined the conspiracy. The
   2    arguments the Parent Entities put forth to respond to that inquiry are inappropriate
   3    for resolution at summary judgment and their other arguments are similarly
   4    untenable. Plaintiffs discuss each of those arguments below.
   5          1. Defendants’ Arguments About What the Evidence Shows May Not
   6             Be Resolved By the Court.
   7          Lion and TUG in particular attempt to justify the documents reflecting their
   8    knowledge of the conspiracy and their communications with competitors by
   9    disputing which inferences a fact-finder should draw from the evidence.191 But such
  10    arguments only prove that there is a genuine dispute about what the evidence shows
  11    and, thus, are plainly inappropriate for summary judgment. In re TFT-LCD (Flat
  12    Panel) Antitrust Litig., No. M 07-1827 SI, 2011 WL 7724271, at *1 (N.D. Cal. Nov.
  13    4, 2011) (denying summary judgment where “Defendants dispute plaintiffs’
  14    characterization of [] evidence” and holding that “[s]uch disputes regarding the
  15    interpretation of evidence are not appropriate for resolution on summary
  16    judgment.”); see also In re Cathode Ray Tube (CRT) Antitrust Litig. (CRTs), No. C-07-
  17    5944 JST, 2017 WL 5957654, at *4 (N.D. Cal. Feb. 27, 2017) (same); Publ’n Paper,
  18    690 F.3d at 61 (“when the evidence admits of competing permissible
  19    inferences . . . ‘the question of what weight should be assigned to [the] inferences
  20    remains within the province of the fact-finder at a trial.’”) (quotation omitted).
  21          For example, Lion and TUG suggest that each of their communications with
  22    competitors were done for legitimate business purposes and that—despite
  23    contemporaneous evidence suggesting otherwise—they did not discuss any
  24    unlawful topics. Lion MP&A at 27-28; see also, e.g., TUG MP&A at 2 (
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          As discussed below, DWI did not discuss such evidence or offer any plausible
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  27    and justifiable reasons for its conduct.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  54
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170872 Page 69 of
                                     134



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  18             Instead, Lion emphasizes how Lindberg carefully added little negations to
  19    his otherwise questionable communications with competitors, arguing that
  20    “Plaintiffs ask the Court . . . to give them a meaning that is the literal opposite of
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            Stein Decl., Ex. 125; Bumble Bee did not produce this letter to Plaintiffs until
  22    February 11, 2019—which it blamed on “an isolated coding error.” Stein Decl.,
  23    Ex. 258.
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            See, e.g., Ex. 220 (Cameron Dep.) 449:20-22
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                                 450:10-12
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  27    194
              Stein Decl., Ex. 144.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  55
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170873 Page 70 of
                                     134



   1    what they say.” Lion MP&A at 27-28. But an equally plausible reading of these
   2    disclaimers is that Lindberg knew what they were doing was wrong, and he was
   3    trying to keep it a secret. If Lion is correct that injecting little notes about purported
   4    compliance with the laws is sufficient to overcome other inferences of conspiracy
   5    at the summary judgment stage, then cartelists could avoid all liability simply by
   6    adding little disclaimers and negations to their conspiratorial communications.
   7    This cannot be the result.
   8          It particularly cannot be the result in light of the facts here,
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  13                                                                                         This
  14    evidence shows that Lindberg, a Harvard Business School graduate, knew he
  15    needed to be careful about what he said to competitors196—but that does not mean
  16    that he and the other Parent Entities did not implicitly discuss and agree about these
  17    matters. The Court should consider the evidence about the savviness of Lindberg
  18    and the other players in assessing the evidence. As the Ninth Circuit has recognized
  19    in another price-fixing conspiracy, “[a] knowing wink can mean more than words.”
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  21    195
           It is almost as if Lindberg knew that the term “rational” has been used by courts
        in the antitrust context. See, e.g., In re Flat Glass Antitrust Litig., 385 F.3d 350,
  22
        362(3d Cir. 2004) (discussing “rational, interdependent decision-making” as
  23    opposed to unlawful concerted action). The Court should be wary of these savvy
        executives’ use of the exact words that Courts have used to describe lawful
  24
        competitive behavior in antitrust cases.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)    CASE NO. 15-MD-2670-JLS-MDD
                                                  56
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170874 Page 71 of
                                     134



   1    Esco, 340 F.2d at 1007. While Lindberg may have been careful not to discuss
   2    specific pricing in written communications, the documents and overall context provide
   3    other circumstantial evidence from which a “reasonable factfinder could conclude
   4    . . . that [Defendants] w[ere] part of the conspiracy.” Citric Acid II, 191 F.3d at 1101
   5    (citation omitted).
   6             Thus, although there is not explicit evidence that Lindberg directly set pricing
   7    with competitors, there is abundant evidence that Lindberg was aware of the
   8    importance of “signaling” competitors about pricing.
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  26    197
              Stein Decl., Ex. 108.
  27    198
              Stein Decl., Ex. 129.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)     CASE NO. 15-MD-2670-JLS-MDD
                                                  57
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170875 Page 72 of
                                     134



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  16          And around the same time in March of 2012, Chairman Kim, Nam-jung, and
  17    Choe met with Chansiri and Han Seng of TUG and discussed how to avoid a price
  18    war, suggested that “[t]here is only price war if [the companies] do not ‘respect’. . .
  19    fish price”.202 Later, in July of 2012, Lindberg reported that after “Starkist’s
  20    dysfunctional management team [] was fired by Dongwon, [] they are now in
  21    lockstep with us in setting pricing rationally.”203 In fact, during an October 2012
  22    conversation with Lischewski and Ingu and Shin, who were “representing
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  24    199
            Stein Decl., Ex. 130.
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        200
            Stein Decl., Ex. 216 (Lindberg Dep.) 303:6-307:22.
        201
            Stein Decl., Ex. 129.
  26    202
            Stein Decl., Ex. 132.
  27    203
            Stein Decl., Ex. 141.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  58
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170876 Page 73 of
                                     134



   1    Dongwon Industries”, they discussed how “StarKist had raised its prices, helping
   2    Bumble Bee with raising its prices[.]”204 Additionally, an internal TUG document
   3    that Chansiri received, stated that “US canned tuna should improve due to less price
   4    competition” and that that “[t]he market competition has become more rational since
   5    4Q ’12.”205
   6          Also of significance is the timing of these exchanges between the Parent
   7    Entities. It is undisputed that, in the 18-month period between November 2010
   8    (when Bumble Bee sought a truce from StarKist and Lindberg met with Chairman
   9    Kim and Chansiri) and May 2012, StarKist, Bumble Bee, and COSI conspired to
  10    increase prices three times and colluded throughout this period on promotional
  11    pricing.206 As the Court previously commented: “the period from January to March
  12    2012 is particularly salient.” ECF No. 1358 at 81. During this period, Lischewski
  13    informed Lindberg and Chang about “cheating” in the industry, and also about a
  14    price increase that would correct the problem.207 Viewing the evidence of the
  15    frequent meetings between the Parent Entities during this time period in
  16    conjunction with the evidence that the Parent Entities were “on notice that some
  17    mischief [wa]s afoot” (ECF No. 1358 at 82) is more than sufficient to support the
  18    “reasonable inference” (id.) that the meetings helped support the agreements to
  19    increase price.
  20          In the face of these contemporaneously-created documents and the other
  21    evidence above, a jury could reasonably find that the Parent Entities knew about
  22    the conspiracy and took steps to support the object of the conspiracy in violation of
  23    204
            Stein Decl., Ex. 142.
  24    205
            Stein Decl., Ex. 144 (emphases added); see also Stein Decl., Ex. 222 (Chansiri
  25    Dep.) 175:14-186:21; Stein Decl., Ex. 209 (TUG 30(b)(6) (Ayrle) Dep.) 272:2-
        275:10-19.
  26    206
            Stein Decl., Exs. 10-12.
  27    207
            Stein Decl., Ex. 123.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  59
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170877 Page 74 of
                                     134



   1    the antitrust laws. The present denials of Lindberg, Chansiri, and others cannot be
   2    dispositive in the face of such contemporaneous evidence to the contrary.
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  13          Although the Parent Defendants argue their witnesses denied the existence
  14    an agreement with competitors regarding packaged tuna pricing, an illegal
  15    agreement under the antitrust laws can be reached without formal agreements.
  16    Indeed, “solemnized covenants to conspire are difficult to come by in any price
  17    fixing case.” In re Plywood Antitrust Litig., 655 F.2d 627, 633 (5th Cir. 1981); see also
  18    Kleen Prods. LLC v. Georgia-Pac. LLC, 910 F.3d 927, 936 (7th Cir. 2018) (“The task
  19    before any plaintiff is thus to find and produce evidence that reveals coordination
  20    or agreement (even a wink and a nod-formal agreements have never been required
  21    for purposes of Sherman Act section 1).”) (citations omitted).210
  22    208
            Stein Decl., Ex. 209 (TUG 30(b)(6) (Ayrle) Dep.) 14:22-15:1.
  23    209
            Id. 263:11-24, 271:4-275:19.
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            A commonly used jury instruction manual for Sherman Act claims explains
        that “[t]o establish the existence of a conspiracy, the evidence need not show that
  25    its members entered into any formal or written agreement; that they met together;
  26    or that they directly stated what their object or purpose was, or the details of it,
        or the means by which they would accomplish their purpose. The agreement itself
  27    may have been entirely unspoken.” O’Malley, Grenig, & Lee, Fed. Jury. Prac. &
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)    CASE NO. 15-MD-2670-JLS-MDD
                                                  60
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170878 Page 75 of
                                     134



   1          While the Parent Entities also discussed other non-conspiratorial topics, such
   2    as the merger between COSI and TUG or purchasing raw tuna, this does not refute
   3    the evidence that they also knew about and supported the conspiracy. In this
   4    context, where the Parent Companies obviously stood to gain from the conspiracy,
   5    Defendants cannot use their alternative arguments about the meaning of the
   6    evidence to show that there is no genuine dispute of material fact that the parent
   7    entities participated in the conspiracy. CRTs, 2017 WL 5957654, at *4 (same) (“At
   8    bottom, there is conflicting evidence about the purpose of the bilateral meetings. A
   9    jury, not the Court, should determine whose characterization of those meetings is
  10    most credible.”).211
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  15                                                                                     See In
  16    re Static Random Access Memory (SRAM) Antitrust Litig., No. 07-MD-01819 CW, 2010
  17    WL 5138859, at *6 (N.D. Cal. Dec. 10, 2010) (where there was “evidence that []
  18    executives and other managers with influence or ultimate authority over pricing
  19    had knowledge of competitive price and production information . . . . a reasonable
  20    factfinder could infer that the information impacted pricing”).
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        Instr. Civil Comp HB § 1:4 (“What the evidence must show to prove that the
  23    conspiracy existed is that the alleged members of the conspiracy in some way
        came to an agreement to accomplish a common purpose.”)
  24    211
            Even if the Court finds that “[c]onsidering the defendants’ explanation, . . .
  25    the defendants had ‘met their burden of proffering a plausible justification for their
  26    conduct consistent with proper business practice,’” they cannot show that “the
        factual context renders [Plaintiffs’] claim implausible.” Citric Acid II, 191 F.3d at
  27    1095.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  61
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170879 Page 76 of
                                     134
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170880 Page 77 of
                                     134



   1    arguments on this evidence for reply, but in doing so, DWI has failed to meet its
   2    initial burden of justifying its conduct such that a reasonable fact finder could not
   3    find plausible Plaintiffs’ allegations of conspiracy. Nor has DWI addressed the
   4    economic context surrounding its alleged participation in the conspiracy, by, for
   5    example, showing that Plaintiffs’ allegations make no economic sense. DWI’s
   6    motion is entirely devoid of any substantive arguments justifying summary
   7    judgment in the antitrust context. On those grounds alone, the Court could and
   8    should deny summary judgment for DWI. See also Nissan Fire & Marine Ins. Co. v.
   9    Fritz Cos., Inc., 210 F.3d 1099, 1105 (9th Cir. 2000) (“A moving party may not
  10    require the nonmoving party to produce evidence supporting its claim or defense
  11    simply by saying that the nonmoving party has no such evidence.”).
  12          Instead, DWI focuses all of its efforts arguing that the evidence Plaintiffs have
  13    adduced relates to DWE, arguing that Chairman Kim, Nam-jung, Moonsu, Ingu
  14    and others are “not connected to DWI.” DWI MP&A at 12. This is blatantly
  15    untrue—Chairman Kim and his son Nam-jung are the majority owners of DWI,
  16    and
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  19          The law is clear that “[t]he knowledge of a director, officer, sole shareholder
  20    or controlling person of a corporation is imputable to that corporation.” In re
  21    Platinum-Beechwood Litig., No. 18-CV-10936 (JSR), 2019 WL 2569653, at *17
  22    (S.D.N.Y. June 21, 2019) (quoting Baker v. Latham Sparrowbush Assocs., 72 F.3d 246,
  23    255 (2d Cir. 1995)); Donovan v. Schmoutey, 592 F. Supp. 1361, 1399 (D. Nev. 1984);
  24    cf. Chartrand v. Barney’s Club, Inc., 380 F.2d 97, 100-01 (9th Cir. 1967). As the
  25    majority owners of DWI, Chairman Kim and Nam-jung’s knowledge of the
  26    conspiracy is imputed to DWI. Likewise, Ingu and Moonsu were controlling
  27    persons of DWE, which owns DWI, and their knowledge should be inputted to
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  63
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170881 Page 78 of
                                     134
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170882 Page 79 of
                                     134



   1    at 573. This is particularly true where a principal has a motive to increase profits,
   2    such as here, where Chairman Kim and Nam-jung stood to gain directly from
   3    supracompetitive profits. See id. at 571-72.
   4          As discussed, Chairman Kim, Nam-jung, Ingu, Moonsu, and Choe among
   5    others, acted with apparent authority from DWI.            Sometimes they directly
   6    represented that they were representing DWI and DWI’s interests215, and other
   7    times they were more generally representing the Dongwon Group. Where the
   8    evidence is not clear which entity is acting, that issue should be a question for the
   9    jury. See CRTs, 2017 WL 5957654, at *4 (denying summary judgment where the
  10    evidence     generally     referred   to   “MEC,”    “Matsushita,”   or   Panasonic’s
  11    “headquarters” without specifying which entity they mean, but which could all
  12    refer to the same defendant, Panasonic Corp.—and noting that “[p]articularly given
  13    Panasonic Corp.’s position at the top of the Panasonic organizational chart, . . .
  14    these facts lead the Court to reject Panasonic Corp.’s efforts to distance itself from
  15    Plaintiffs’ evidence.”).
  16          The same is true here. The individuals who participated on behalf of DWI
  17    often held themselves out as representing Dongwon generally, and as discussed
  18    above, the Dongwon entities considered themselves all part of the Dongwon
  19    Group, with its Chairman Kim and Vice-Chairmen Nam-Jung and Ingu. Thus,
  20    those individuals’ knowledge and acts in furtherance of the conspiracy (carried out
  21    by DWI’s wholly-owned subsidiary, StarKist) should be imputed to DWI.
  22          3. TUG Has Not Shown That It Would Be Economically Implausible
  23               For It to Participate In The Conspiracy.
  24          As noted above, TUG stood to gain from the conspiracy through COSI’s
  25    participation and supracompetitive sales, but also through its own participation and
  26
          U.S. v. Bestfoods, 524 U.S. 51, 70 n.13 (1998) (identifying the issue as whether
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  27    “an act is taken on behalf of the corporation for whom the officer claims to act”)
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)    CASE NO. 15-MD-2670-JLS-MDD
                                                  65
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170883 Page 80 of
                                     134
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170884 Page 81 of
                                     134



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              See Laby Report ¶ 42

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            Stein Decl., Ex. 208 (COSI 30(b)(6) (Parsons) Dep.) 238:8-10.
  26    222
            Stein Decl., Ex. 209 (TUG 30(b)(6) (Ayrle) Dep.) 207:8-208:14.
  27    223
            Stein Decl., Ex. 143 at 10.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  67
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170885 Page 82 of
                                     134
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170886 Page 83 of
                                     134



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                                                                            Thus, the only
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        econometric analysis analyzing the supply and demand factors influencing pricing
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        in the packaged tuna market in the record is that of Dr. Mangum. TUG has no
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        rebutting model to or analyses. Dr. Mangum’s analysis, in combination with the
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        other evidence in the record, should at least create a genuine dispute of material
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        fact as to whether TUG did in fact directly benefit from the conspiracy.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  69
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170887 Page 84 of
                                     134



   1          In sum, it was economically plausible for TUG to join the conspiracy and
   2    benefit from the conspiracy.
   3          4. Defendants’ Admissions and the Guilty Pleas Are Not Dispositive on
   4             Whether Defendants Conspired
   5          The Parent Companies argue that because their U.S. subsidiaries do not
   6    identify them as co-conspirators in their admissions in the case or their guilty pleas
   7    in the criminal investigation that therefore this “should be dispositive” of their
   8    involvement. See, e.g., DWI MP&A at 10-11. But nothing about these admissions
   9    should be “dispositive” or create some sort of presumption as Defendants suggest.
  10          First, no court has held what Defendants argue—and Defendants leave out
  11    important context for the cases they cite in support. DWI, for instance, cites In re
  12    Dynamic Random Access Memory (DRAM) Antitrust Litigation, No. M 02-1486 PJH,
  13    2007 WL 9752971, at *13 (N.D. Cal. Feb. 20, 2007) (“DRAM”) as holding that “it
  14    is improper for the court [to] accept evidence of the co-defendants’ guilty pleas as
  15    evidence tending to support an inference of [defendant’s] collusive activity when
  16    none of those guilty pleas implicated [defendant] in their criminal activity.” DWI
  17    MP&A at 11. But the court there did not find the evidence was dispositive or even
  18    that it weighed in favor of the defendant there who disputed it participation.
  19    Rather, the court merely declined to find the guilty pleas weighed in the plaintiffs’
  20    favor: “Given that NTC was not implicated, the court declines to consider these
  21    pleas as evidence bearing on NTC’s participation in the alleged unlawful activity.”
  22    DRAM, 2007 WL 9752971, at *13.
  23          TUG also overreaches on this issue. For example, TUG is correct that in
  24    Barnes v. Arden Mayfair, Inc., 759 F.2d 676, 684 (9th Cir. 1985), the Ninth Circuit
  25    affirmed summary judgment where “the dairies [] admitted their participation in a
  26    conspiracy, while simultaneously exonerating [the moving defendant]” but in
  27    Barnes the dairies there had “nothing to gain for their exculpatory statements.” The
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  70
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170888 Page 85 of
                                     134



   1    situation in Barnes was fundamentally different, involving a conspiracy between
   2    dairy competitors, but the plaintiffs sought to bring in a “tangential defendant” who
   3    was not a dairy competitor but whom they alleged the dairies coerced into
   4    supporting their conspiracy. Id. at 683. Defendants here are not “tangential” but
   5    are core to the conspiracy. Unlike the dairies, who had “nothing to gain” from
   6    exculpating the “tangential” defendant, here the U.S. subsidiaries have every
   7    interest in protecting their Parent Companies from the reputational harm associated
   8    with a finding of participation in the conspiracy and the economic harm if Plaintiffs
   9    are successful in proving their claims.
  10          The same is true for Citric Acid II, which “note[d] that all four major citric
  11    acid manufacturers admitted to conspiring to fix prices but none identified
  12    [defendant] as a co-conspirator.” 191 F.3d at 1106. But again, the Ninth Circuit
  13    did not find that dispositive, and furthermore, the moving defendant there, (Cargill)
  14    had no affiliation to the other defendants and was also their direct competitor in
  15    the United States. Citric Acid II does not suggest that Defendants can meet their
  16    burden of rebutting the alleged conspiracy or cast doubt on Plaintiffs’ evidence in
  17    this context just because their U.S. subsidiaries have not implicated them in the
  18    conspiracy. Instead, as Stanislaus explained, the context matters, and here, there is
  19    a plausible argument that the United States subsidiaries are protecting their Parent
  20    Companies from liability. It is also worth noting that DWI and TUG are public
  21    companies. Both have expressed concerns about worrying stockholders. There
  22    could also be liability in the countries where they are traded if they are found to
  23    have conspired. And Lion, too, has investors, and a finding of anticompetitive
  24    conduct could significantly damage its business too.
  25          Second, the fact that the Department of Justice has not made the Parent
  26    Entities the target of its investigation is not surprising. The grand jury’s jurisdiction
  27    is limited, and the Department of Justice generally does not subpoena documents
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)    CASE NO. 15-MD-2670-JLS-MDD
                                                  71
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170889 Page 86 of
                                     134



   1    outside of the United States. See United States Attorneys’ Manual § 9-11.140
   2    (“[t]here are special considerations” when seeking evidence outside of the United
   3    States and that the Criminal Division should be contacted before any such requests
   4    are made)227; see also In re TFT-LCD (Flat Panel) Antitrust Litig., United States’
   5    Objections to Special Master’s Report & Recommendation RE: Toshiba Entities
   6    Motion for Modifications to the Discovery Schedule and Plan at 6, No. M 07-1827
   7    SI, ECF No. 1258 (N.D. Cal. Sept. 14, 2009) (noting that “in the interest of
   8    international comity” the Department of Justice does not generally subpoena
   9    “foreign-located documents”); In re Grand Jury Subpoenas, 627 F.3d 1143, 1144 (9th
  10    Cir. 2010) (allowing the DOJ to subpoena civil plaintiffs’ counsel to obtain
  11    discovery they received about a foreign defendant, and discussing that the
  12    government should not be denied discovery where, “[b]y a chance of litigation, the
  13    documents have been moved from outside the grasp of the grand jury to within its
  14    grasp.”).
  15          Indeed, TUG and COSI’s own counsel has acknowledged that:
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              The Antitrust Division also seeks to use treaties and other bilateral
  17          agreements to extradite foreign nationals whose criminal conduct has
              a substantial impact on US commerce, although thus far it has had
  18
              limited success in doing so. Proceedings against foreign defendants
  19          still depend largely upon their voluntary submission to the
              jurisdiction of the US courts or their being arrested opportunistically
  20
              during a visit to the United States.228
  21
  22    The Court should not read anything significant into the fact that “DOJ never took
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        227
            Available at http://www.justice.gov/usao/eousa/foia_reading_room/
  24
        usam/title9/11mcrm.htm.
  25    228
            Christine Varney & John F. Terzaken, The Cartels and Leniency Review 318, 358-
  26    59 (1st ed. 2013), available at http://www.allenovery.com/publications/en-
        gb/globalcartelenforcement/Documents/AO_the-cartels-and-leniency-
  27    review.pdf
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  72
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170890 Page 87 of
                                     134



   1    any action against TUG” and COSI never reported TUG. TUG MP&A at 1.
   2          Courts indeed have rejected similar arguments. See, e.g., High Fructose, 295
   3    F.3d at 664-65 (refusing to infer lack of a civil conspiracy from the government’s
   4    decision not to move against certain defendants, acknowledging that the DOJ may
   5    decide to limit the scope of an investigation for numerous reasons, including
   6    differing standards of proof in a criminal case and the knowledge that the private
   7    bar “had both the desire and the resources to prosecute [the] suit”); In re Packaged
   8    Ice Antitrust Litig., 723 F. Supp. 2d 987, 1011-12 (E.D. Mich. 2010) (“Nor can this
   9    civil litigation be circumscribed or defined by the boundaries of the criminal
  10    investigations or plea agreements.”); In re Vitamins Antitrust Litig., No. 99-197
  11    (TFH), 2000 WL 1475705 at *11 (D.D.C. May 9, 2000) (rejecting the “notion that
  12    the guilty pleas and cooperation agreements and the class settlement foreclose a
  13    broader conspiracy. Guilty pleas are negotiated instruments which take into
  14    account not only the culpability of the accused but the Justice Department’s
  15    resources and other cases requiring the government’s attention.”); In re
  16    Polypropylene Carpet Antitrust Litig., 178 F.R.D. 603, 620 (N.D. Ga. 1997) (“[T]he
  17    court is aware of no authority that requires a civil antitrust plaintiff to plead only
  18    the facts of a prior criminal indictment. To the contrary, several cases flatly reject
  19    that theory.”).
  20          Third, “[i]t is well established that, for purposes of coconspirator culpability,
  21    members of a conspiracy need not be aware of the existence or activities of other
  22    members.” Wallace, 759 F.3d at 492 (citing Booker, 334 F.3d at 411); see also Beltz
  23    Travel Serv, 620 F.2d at 1367; Arandell, 900 F.3d at 628. If the Court is all inclined
  24    to weigh this evidence (though, it should not), then it needs to consider that certain
  25    conspirators may only have some limited knowledge about the conspiracy. For
  26    example, COSI (the only party making admissions directly to the DOJ) may not
  27    know the full dimensions of the discussions and understandings between Lion and
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  73
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170891 Page 88 of
                                     134



   1    Dongwon, and therefore, it would be inappropriate to attribute its lack of
   2    identification of these companies as co-conspirators as establishing definitively that
   3    they did not participate in the cartel.
   4          In sum, there is no basis for the Court to rely on Defendants’ admissions and
   5    the guilty pleas as the basis for summary judgment in their favor.
   6       C. Plaintiffs have Shown that A Reasonable Fact Finder Could Find that
   7          The Parent Entities Conspired in This Case.
   8          As set forth above, there is substantial evidence that the Parent Entities knew
   9    about and supported the first level of the conspiracy between the U.S. subsidiaries
  10    and carried out the second level of the conspiracy by assuring would-be competitors
  11    that they would promote peace and “rational” competitive behavior (i.e., higher
  12    prices).   One thing that the parties agree on is that context matters.         “It is
  13    fundamental to the law of conspiracy that the agreements that form the essence of
  14    the misconduct are not to be judged by technical niceties but by practical realities.”
  15    Meyer v. Kalanick, 174 F. Supp. 3d 817, 825 (S.D.N.Y. 2016). “Sophisticated
  16    conspirators often reach their agreements as much by the wink and the nod as by
  17    explicit agreement, and the implicit agreement may be far more potent, and sinister,
  18    just by virtue of being implicit.” Id.
  19          Here, the record is replete with
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  24                                                                                       See
  25    Beltz, 620 F.2d at 1367; SRAM, 2010 WL 5138859, at *9 (“Plaintiffs need not
  26    produce evidence that Cypress communicated with many or all Defendant
  27    competitors to show that it engaged in a conspiracy”).
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  74
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170892 Page 89 of
                                     134



   1          The same is true for Lion Capital (from which Plaintiffs have not received
   2    full discovery).
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  18                                                                     Thus, while Plaintiffs
  19    should be allowed to take discovery of Lion Capital, there is already significant
  20    evidence that Lea—Lion Capital’s CEO—knew about and supported the
  21    conspiracy.
  22          In these circumstances, where each of the Parent Companies had much to
  23    gain from the conspiracy and provided so much value in policing the conspiracy
  24    and ensuring their U.S. subsidiaries stuck to higher prices, it is reasonable for a trier
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        229
            Stein Decl., Ex. 216 (Lindberg Dep.) 351:3-352:2; Stein Decl., Ex. 218 (Capps
  26
        Dep.) 292:5-293:25.
  27    230
            Stein Decl., Ex. 141.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)    CASE NO. 15-MD-2670-JLS-MDD
                                                  75
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170893 Page 90 of
                                     134



   1    of fact to believe that the Parent Companies reached an understanding to stop
   2    competing and start raising profits. A jury could (and should) find on Plaintiffs
   3    behalf against the Parent Companies.
   4             None of the out-of-circuit cases on which Defendants rely on suggest a
   5    contrary result. First, In re Chocolate Confectionary Antitrust Litigation, 801 F.3d 383
   6    (3d Cir. 2015) (“Chocolate”) involved direct evidence of price-fixing conspiracy on
   7    chocolate products in Canada, which the plaintiffs argued extended to the U.S.
   8    chocolate manufacturers. The problem was that the plaintiffs had virtually no
   9    evidence connecting the U.S. manufacturers to the Canadian conspiracy. The
  10    Court pointed out that the plaintiffs “c[ould] point to hardly any communications,
  11    let alone pricing communications, among the Chocolate Manufacturers’ U.S.
  12    executives.” Id. at 404. Given the lack of conspiratorial allegations between the
  13    U.S. executives, the court questioned whether the plaintiffs could ever “show that
  14    the unlawful Canadian conduct actuated, facilitated, or informed the U.S. conduct.”
  15    Id. at 405 (emphases in original). The Third Circuit could find no evidence
  16    sufficiently connecting the conduct of the U.S. Manufacturers to their Canadian
  17    counterparts’ conspiracy. Id. at 403-06.
  18             The exact opposite is the case here.
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  26    231
              Stein Decl., Ex. 93.
  27    232
              Stein Decl., Ex. 99.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  76
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170894 Page 91 of
                                     134



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  15          This evidence distinguishes this case from Chocolate. Here, if anything, the
  16    Parent Entities’ mutual understandings                                facilitated the
  17    U.S. manufacturers’ conspiracy.
  18
  19                                                                    , the Parent Entities
  20    gave the U.S. subsidiaries the ability to stop focusing on short term market-share
  21    grabs by dropping prices. Thus, unlike in Chocolate, there is “a sufficient factual
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  23    233
            Stein Decl., Ex. 97, 108.
  24    234
            Stein Decl., Ex. 89.
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        235
            Stein Decl., Ex. 192.
        236
            Stein Decl., Ex. 215 (Chan Dep.) 49:10-15, 50:3-51:20.
  26    237
            Stein Decl., Ex. 54.
  27    238
            Stein Decl., Ex. 95.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  77
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170895 Page 92 of
                                     134



   1    basis for the [parent] conspiracy to be relevant to or facilitative of the purported
   2    U.S. conspiracy.” 801 F.3d at 407.
   3          The other Third Circuit case Defendants rely on is In re Baby Food Antitrust
   4    Litigation, 166 F.3d 112 (3d Cir. 1999). There, plaintiffs contended there was a
   5    conspiracy to fix prices of baby food but produced evidence that merely showed
   6    that there were “sporadic exchanges of shop talk among field sales representatives
   7    who lack pricing authority.”       Id. at 125.    Additionally, the court discounted
   8    testimony from one defendant’s sales manager about how he would provide pricing
   9    to persons with more pricing authority because that information related to an
  10    entirely different product, vinegar—not baby food. Id. at 126. Plaintiffs also showed
  11    that the defendants had information about their competitors, but the court declined
  12    to find that “the mere possession of competitive memoranda is evidence of
  13    concerted action to fix prices.” Id. The plaintiffs there also relied on a document
  14    where one of the defendants appeared to describe a “truce” with its competitors,
  15    but the court declined to infer a price-fixing conspiracy existed through “the single
  16    use of the term” in a case where otherwise there was insufficient evidence of
  17    conspiracy. Id. at 127.
  18          The facts are, again, very different here. Here, the U.S. Defendants admit to
  19    the conspiracy, and there is certainly more than a “single” exchange between the
  20    Parent Entities
  21                                  . The evidence, combined with the record in this case
  22    as a whole, could lead a jury to find a conspiracy existed between the Parent
  23    Entities. See Home Depot, 2019 WL 3804667, at *10 (communications between
  24    competitors was “the kind of circumstantial evidence that, when viewed in
  25    conjunction with the massive record in this case, could lead a jury to reasonably
  26    infer a conspiracy in restraint of trade”) (citation omitted); see also High Fructose, 295
  27    F.3d at 662 (reversing grant of summary judgment where the district court
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)    CASE NO. 15-MD-2670-JLS-MDD
                                                  78
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170896 Page 93 of
                                     134



   1    discounted several statements by the defendants referring to “an understanding
   2    within the industry not to undercut each other’s prices” and “support” for efforts to
   3    limit pricing, as well as a statement that there was an “understanding between the
   4    companies that . . . causes us not to . . . make irrational decisions.”); In re Titanium
   5    Dioxide Antitrust Litig., 959 F. Supp. 2d 799, 829 (D. Md. 2013) (denying summary
   6    judgment where “the Plaintiffs have marshaled substantial evidence of just th[e]
   7    sort [as described in High Fructose,]” including “competitor statements regarding
   8    industry ‘discipline’ and the sharing of industry information . . . to support the
   9    Defendants’ ‘collective needs.’”).
  10          Defendants also rely on, In re Citric Acid Litigation, 996 F. Supp. 951, 956-57
  11    (N.D. Cal. 1998) (“Citric Acid I”); Citric Acid II, 191 F.3d at 1097-98. But again,
  12    Citric Acid is inapposite. There, Cargill, a late comer to the citric acid market, was
  13    claimed to have participated in a conspiracy that four other horizontal competitors
  14    admitted to. None of those horizontal competitors had implicated Cargill in the
  15    conspiracy, but the plaintiffs argued that Cargill was using the industry trade
  16    association for illegal activities because the admitted conspirators participated in
  17    that association as well. Id. at 1097. However, there was no evidence that illegal
  18    activities took place at those trade meetings—rather all of the price-fixing happened
  19    at other meetings surrounding the association meetings. Id. The other “ominous”
  20    evidence the plaintiffs presented (a) did not involve Cargill, and (b) suggested a
  21    potential that the trade association correspond with Chinese citric acid producers
  22    to “stabilize and regulate Chinese production and exports”—but the alleged
  23    conspiracy was not between Chinese citric acid producers, and in any event, the
  24    minutes of that meeting noted that the suggestion should be discarded and ignored.
  25    Id. at 1098. The Court refused to find that Cargill’s joining of this trade association
  26    was a sufficient basis to infer its participation in the conspiracy, particularly where
  27    Cargill showed “that it did explicitly weigh the costs and benefits of joining [the
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  79
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170897 Page 94 of
                                     134



   1    association] and did take steps to assure that its data would be kept as confidential
   2    as possible.” Id. at 1100.
   3             None of the dispositive facts from Citric Acid exist here. The meetings
   4    between the Defendants were not merely through trade association events which
   5    Defendants otherwise had good reasons to attend, but rather were surreptitious,
   6    one-on-one meetings.
   7             Furthermore, there is no suggestion in the record that the Parent Entities
   8    made any effort to keep their private business information confidential.
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  16                       These are not the acts of companies that are trying to protect their
  17    commercially sensitive information from a competitor. See High Tech, 2014 WL
  18    1283086, at *3 (“A reasonable jury could infer that this confidential information
  19    could be shared safely by competitors only because the anti-solicitation agreements
  20    squelched true competition.”).
  21             Finally, the defendants in Citric Acid had no reason to conceal who their co-
  22    conspirators were, whereas here all the U.S. subsidiary Defendants have an interest
  23    in protecting their parent companies. In antitrust cases, Defendants are jointly and
  24    severally liable for misconduct, and by keeping the Parent Entities out of the case,
  25    the U.S. subsidiaries have a better chance of preventing Plaintiffs from recovering
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  27    239
              Stein Decl., Ex. 153.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  80
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170898 Page 95 of
                                     134



   1    their damages. Additionally, Defendants notably ignore recent Ninth Circuit
   2    precedent on this issue: Arandell, 900 F.3d at 629-31, which established that since a
   3    parent company and its subsidiary “always have a ‘unity of purpose’ and act as a
   4    ‘single enterprise’ whenever they engage in ‘coordinated activity,’” the subsidiaries
   5    were “deemed to have shared the intent of” their parent company for purposes of a
   6    Section 1 violation of the Sherman Act. See Copperweld Corp. v. Independence Tube
   7    Corp., 467 U.S. 752, 771 (1984) (“The coordinated activity of a parent and its wholly
   8    owned subsidiary must be viewed as that of a single enterprise for purposes of § 1”).
   9    Each of the Parent Companies and their subsidiaries here engaged in coordinated
  10    activities—including through sharing in proceeds from the conspiracy. They had
  11    mutual and inter-locking interests with their subsidiaries and stood to collect
  12    significant profits from the conspiracy.
  13          There is an abundance of evidence against the Parent Companies, and a jury
  14    could properly find that evidence sufficient to find in favor of Plaintiffs. As such,
  15    the Court should deny Defendants’ motions seeking summary judgment for their
  16    participation in the conspiracy. See SRAM, 2010 WL 5138859, at *7.
  17    V.    ARGUMENT REGARDING ALTER EGO AND AGENCY CLAIMS
  18          In addition to their allegations about the Parent Entities’ direct participation
  19    in the conspiracy, Plaintiffs also allege vicarious liability under the doctrines of alter
  20    ego and agency. Unlike Plaintiffs’ conspiracy claims, the alter ego and agency claims
  21    are equitable in nature, and thus it is expected that they will be tried to the Court at
  22    some point. Siegel v. Warner Bros. Entm’t Inc., 581 F. Supp. 2d 1067, 1076 (C.D.
  23    Cal. 2008); see also DWI MP&A at n.23 (“provid[ing] notice that [DWI] plans to
  24    move to bifurcate the alter-ego and agency issues from the underlying conspiracy
  25    allegations for the purposes of trial”) (citation omitted).
  26          In the following section, Plaintiffs discuss the legal standards that should be
  27    applied to the alter ego and agency analysis, and then apply those standards
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)    CASE NO. 15-MD-2670-JLS-MDD
                                                  81
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170899 Page 96 of
                                     134



   1    separately to each of the parent groups. It is significant to think of these entities as
   2    “groups”—as opposed to a single parent and single subsidiary—because that is how
   3    they in fact acted and carried out their business. The relationships within TUG and
   4    the Dongwon Group are extensively summarized in the Report and Rebuttal
   5    Reports of the DPPs’ sociologist expert, Dr. Gary Hamilton, as well as the DPPs’
   6    forensic accounting expert, Marianne DeMario. The facts cited in those Reports
   7    are adopted and incorporated by reference. However, Plaintiffs reproduce many of
   8    the salient facts for alter ego and agency liability below.
   9          A. Legal Standards.
  10            1. Alter Ego Standard
  11            Defendants acknowledge that there is an ambiguity on whether federal or
  12    state law applies in assessing alter ego liability. See, e.g., DWI MP&A at 15-16 n.8.240
  13    Because Plaintiffs bring claims that derive from federal common law under the
  14    Sherman Act and Clayton Act, in order to maintain uniform legal doctrine on
  15    corporate entity antitrust recognition or liability, federal common law should apply.
  16    See Wolfe v. United States, 806 F.2d 1410, 1411 (9th Cir. 1986) (“The determination
  17    of whether to apply state or federal alter ego doctrine depends on the degree to
  18    which the subject matter of the case implicates federal interests.”) (citations
  19    omitted); United States v. Kimball Foods, Inc., 440 U.S. 715, 728-29 (1979) (citations
  20    omitted) (federal issues must be nationally uniform and state law should not apply
  21    if it “would frustrate specific objectives of the federal programs”); Maney v. Fischer,
  22    No. 96 Civ. 0561 (KMW), 1998 WL 151023, at *1 (S.D.N.Y. Mar. 31, 1998)
  23    (“Where a cause of action is based on a federal question, federal common law
  24    240
           The Court and parties to this case previously cited California state law to assess
  25    alter ego and agency arguments. See, e.g., ECF No. 295 at 11. Although state law
  26    and federal law on alter ego and agency issues overlap (as described in various
        cited cases), federal law is in fact appropriate for evaluating Plaintiffs’ alter ego
  27    and agency claims, as discussed.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)    CASE NO. 15-MD-2670-JLS-MDD
                                                  82
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170900 Page 97 of
                                     134



   1    determines the parameters of the alter ego doctrine.”); see also United States v. Peters,
   2    732 F.3d 93, 103 n.4 (2d Cir. 2013) (“[B]ecause this case arises under federal
   3    question jurisdiction and involves a federal statute that ‘demands national
   4    uniformity,’ federal common law . . . presumably controls the question of whether
   5    the corporate veil should be pierced.”) (citation omitted).241
   6          In antitrust enforcement, “federal interests transcend those of the states.”
   7    Moviecolor Ltd. v. Eastman Kodak Co., 288 F.2d 80, 84 (2d Cir. 1961). This is because
   8    “the federal interest in enforcing the national policy in favor of competition is both
   9    familiar and substantial.” Cal. Retail Liquor Dealers Ass’n v. Midcal Aluminum, Inc.,
  10    445 U.S. 97, 110 (1980). Thus, the federal antitrust laws are akin to other remedial
  11    statutes where federal common law, rather than state law, applies to veil-piercing
  12    questions. See Bd. of Locomotive Eng’rs v. Springfield Terminal Ry. Co., 210 F.3d 18,
  13    26-27 (1st Cir. 2000) (Railway Labor Act case applying federal common law given
  14    “the purpose of the federal statute” and listing the Clayton Act among the statutes
  15    where veil piercing was necessary to further federal policies); In re G&L Packing Co.,
  16    Inc., 41 B.R. 903, 911 (N.D.N.Y. 1984) (case applying federal common law after
  17    noting that in Copperweld, the Supreme Court “considered the policy and purpose
  18    of § 1 of the Sherman Act, found that such policy would be disserved by treating
  19    corporations that are separate under state law as independent entities, and therefore
  20    rejected the application of state corporate law to this issue”); Maney, 1998 WL
  21    151023, at *1 (“In federal question cases involving remedial statutes such as
  22
  23    241
           As one other district court noted, “[i]n Bestfoods the Supreme Court side-
  24    stepped the issue, specifically noting ‘[s]ignificant disagreement among courts
        and commentators over whether, in enforcing CERCLA’s indirect liability, courts
  25    should borrow state law, or instead apply a federal common law of veil-piercing.’”
  26    New York State Elec. & Gas Corp. v. FirstEnergy Corp., 808 F. Supp. 2d 417, 495
        (N.D.N.Y. 2011), aff’d in part, vacated in part on other grounds, remanded, 766 F.3d
  27    212 (2d Cir. 2014) (quoting Bestfoods, 524 U.S. at 63, n.9).
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)    CASE NO. 15-MD-2670-JLS-MDD
                                                  83
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170901 Page 98 of
                                     134



   1    ERISA, courts generally accord less respect to the corporate form than when
   2    applying the common law alter ego doctrine.”). Indeed, the “sweeping language”
   3    of the Sherman Act’s substantive provisions, showed Congress expected courts “to
   4    give shape to the statute’s broad mandate”. Texas Indus., Inc. v. Radcliff Materials,
   5    Inc., 451 U.S. 630, 643 & 644-45 (1981); cf. Copperweld Corp., 467 U.S. 752
   6    (analyzing federal cases to define corporate entities for § 1 purposes).242
   7             “Under federal law, a corporate entity may be disregarded in the interests of
   8    public convenience, fairness, and equity[.]” S.E.C. v. Elmas Trading Co., 620 F.
   9    Supp. 231, 234 (D. Nev. 1985) (citing Town of Brookline v. Gorsuch, 667 F.2d 215,
  10    220 (1st Cir. 1981)); Springfield Terminal, 210 F.3d at 26. The “established law is”
  11    that “[a]lthough a corporation and its shareholders are deemed separate entities for
  12    most purposes, the corporate form may be disregarded in the interests of justice
  13    where it is used to defeat an overriding public policy.” Bangor Punta Operations, Inc.
  14    v. Bangor & A.R. Co., 417 U.S. 703, 713 (1974). “In such cases, courts of equity,
  15    piercing all fictions and disguises, will deal with the substance of the action and not
  16    blindly adhere to the corporate form.” Id.; Alman v. Danin, 801 F.2d 1, 3 (1st Cir.
  17    1986) (“corporate form may not defeat overriding federal legislative policies.”).
  18    “Federal analysis gives less respect to the corporate form than does the strict
  19    common-law alter ego doctrine.” Elmas, 620 F. Supp. at 234; see also Bangor Punta
  20    Operations, 417 U.S. at 713 (disregarding corporateness in Clayton Act antitrust
  21    case).
  22             Federal common law allows piercing of the corporate veil where: “(1) a
  23    corporation uses its alter ego status to perpetrate a fraud or (2) where it so dominates
  24    and disregards its alter ego’s corporate form that the alter ego was actually carrying
  25    on the controlling corporation’s business instead of its own.” British Marine PLC v.
  26
          Texas Industries and Copperweld were decided after Erie R. Co. v. Tompkins, 304
        242

  27    U.S. 64 (1938), so Erie does not overrule them.
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  84
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170902 Page 99 of
                                     134



   1    Aavanti Shipping & Chartering Ltd., No. 13 CIV. 0839 BMC, 2013 WL 6092821, at
   2    *5 (E.D.N.Y. Nov. 19, 2013) (citation omitted). Courts consider a number of
   3    factors in making this determination. These include:
   4
              (1) disregard of corporate formalities; (2) inadequate capitalization;
   5          (3) intermingling of funds; (4) overlap in ownership, officers,
   6          directors, and personnel; (5) common office space, address and
              telephone numbers of corporate entities; (6) the degree of discretion
   7          shown by the allegedly dominated corporation; (7) whether the
   8          dealings between the entities are at arms’ length; (8) whether the
              corporations are treated as independent profit centers; (9) payment or
   9          guarantee of the corporation’s debts by the dominating entity, and
  10          (10) intermingling of property between the entities.

  11    Id. at *5 (quotation omitted) (“[T]he general principle guiding courts in determining
  12    whether to pierce the corporate veil has been that liability is imposed when doing
  13    so would achieve an equitable result.” (quoting Williamson v. Recovery Ltd. P’ship, 542
  14    F.3d 43, 53 (2d Cir. 2008))) (emphases added).
  15          Another significant inquiry is “whether in fact the economic enterprise is one,
  16    the corporate forms being largely paper arrangements that do not reflect the
  17    business realities.” N.L.R.B. v. Deena Artware, Inc., 361 U.S. 398, 403 (1960).
  18    Affiliated companies that “hold themselves out to the public as a single entity that
  19    is conveniently departmentalized” may be the alter egos of one another. Zenith Radio
  20    Corp. v. Matsushita Elec. Indus. Co., Ltd., 402 F. Supp. 262, 328 (E.D. Pa. 1975); see
  21    also Cascade Steel Rolling Mills, Inc. v. C. Itoh & Co. (Am.) Inc., 499 F. Supp. 829, 839
  22    (D. Or. 1980) (piercing the corporate veil based on parent companies’ efforts to
  23    create an image of a single entity around the world); Seiko Epson Corp. v. Print-Rite
  24    Holdings, Ltd., No. CV 01-500-BR, 2002 WL 32513403, at *14 (D. Or. Apr. 30,
  25    2002); Cyprus Amax Minerals Co. v. TCI Pac. Commc’ns, Inc., No. 11-CV-0252-CVE-
  26    PJC, 2015 WL 427807, at *14 (N.D. Okla. Feb. 2, 2015) (finding the evidence
  27    sufficient to rebut the Bestfoods presumption when the parent “considered its
  28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)    CASE NO. 15-MD-2670-JLS-MDD
                                                  85
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170903 Page 100 of
                                     134



    1   subsidiaries to be part [of] a single entity that functioned without regard to the
    2   corporate separateness of its subsidiaries” and there was “no evidence suggesting
    3   that those [dual] officers considered the corporate separateness of [the subsidiary]
    4   as significant”).
    5         The Bestfoods presumption that executives are wearing the “hat” of the entity
    6   they work for on paper is “a rebuttable presumption that can be overcome with
    7   evidence that officers and directors were taking action on behalf of [the parent]
    8   instead of [the subsidiary].” Cyprus Amax Minerals, 2015 WL 427807, at *13; see also
    9   Mercury Time, Inc. v. Gruen Mktg. Corp., No. 97-CV-0020 JG, 1999 WL 342299, at
   10   *14 (E.D.N.Y. May 26, 1999) (“Mayer had so many roles in those companies that
   11   Galle, his partner in the Mercury Time negotiations, did not even know which
   12   company Mayer was representing.”); Johnson v. VCG Holding Corporation, 845 F.
   13   Supp. 2d 353, 355-56, 373-74 (D. Me. 2012) (“genuine issues of material fact” as to
   14   whether employees paid by a subsidiary were employed by the subsidiary or its
   15   parent, where the parent exhibited “a substantial overlap in personnel, policies, and
   16   control” with the subsidiary, dual officers who “wore several hats,” and other
   17   services were provided by the parent).
   18         An    inequitable   result   can   be   found    in   several   different   ways.
   19   Undercapitalization is not dispositive; “[e]vidence of inadequate capitalization is,
   20   at best, merely a factor to be considered by the trial court in deciding whether or
   21   not to pierce the corporate veil.” Associated Vendors, Inc. v. Oakland Meat Co., 210
   22   Cal. App. 2d 825, 840 (Cal. Ct. App. 1962).           “[D]iversion of assets from a
   23   corporation by or to a stockholder or other person or entity, to the detriment of
   24   creditors, or the manipulation of assets and liabilities between entities so as to
   25   concentrate the assets in one and the liabilities in another” is one of the ways an
   26   inequitable result can be found. In re SK Foods, LP, 499 B.R. 809, 841 (E.D. Cal.
   27   Bank. 2013).
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)    CASE NO. 15-MD-2670-JLS-MDD
                                                  86
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170904 Page 101 of
                                     134



    1         2. Agency Standard
    2         Under applicable federal common law, agency liability is established by: “(1)
    3   a manifestation by the principal that the agent shall act for him; (2) that the agent
    4   has accepted the undertaking; and (3) that there is an understanding between the
    5   parties that the principal is to be in control of the undertaking.” See Sun Microsystems
    6   Inc. v. Hynix Semiconductor Inc., 622 F. Supp. 2d 890, 899 (N.D. Cal. 2009).
    7   Similarly, under the representative services doctrine, a plaintiff proves agency
    8   liability by showing that “the subsidiary represents the parent corporation by
    9   performing services ‘sufficiently important to the [parent] corporation that if it did
   10   not have a representative to perform them, the [parent] corporation . . . would
   11   undertake to perform substantially similar services.’” Harris Rutsky & Co. Ins. Servs.
   12   v. Bell & Clements Ltd., 328 F.3d 1122, 1135 (9th Cir. 2003) (quotation omitted).
   13         “Agency can be established expressly, via a showing of actual authority, or it
   14   can be inferred, by finding apparent authority or ratification.” Trenz v. Sirius Xm
   15   Radio, Inc., No. 15CV0044 AJB (NLS), 2015 WL 11658715, at *2 (S.D. Cal. July
   16   13, 2015) (citing RESTATEMENT (THIRD) OF AGENCY §§ 2.01, 2.03, 4.01).
   17   “Ratification is demonstrated through knowing acceptance after the fact by the
   18   principal of an agent’s actions.” Bowoto v. Chevron Texaco Corp., 312 F. Supp. 2d
   19   1229, 1247 (N.D. Cal. 2004). For example, if a principal learns of the agent’s illicit
   20   actions and fails to act to disavow those acts, then a reasonable jury could find the
   21   principal ratified the agent’s unlawful conduct. Id. at 1248 (“Where the acts by the
   22   agent were not within the scope of the agency relationship, if they are not
   23   disavowed by the principal, failure to disavow may constitute ratification.”);
   24   Contract Assocs. Office Interiors, Inc. v. Ruiter, No. CIV.S0700334 WBS EFB, 2008
   25   WL 2225702, at *2 (E.D. Cal. May 29, 2008) (“a reasonable jury could readily infer
   26   that [the principal] had acquired the requisite knowledge of [its agent’s] illicit
   27   conduct, effectively triggering its duty to disaffirm her acts”); see also In re Wolverton
   28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)    CASE NO. 15-MD-2670-JLS-MDD
                                                  87
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170905 Page 102 of
                                     134



    1   Assocs., 909 F.2d 1286, 1298 (9th Cir. 1990) (where company “retained the benefits
    2   of [its employee’s] conduct even after confronted with evidence of foul play . . .
    3   [this] conduct on [company’s] part supported the court’s finding of ratification”));
    4   Abante Rooter & Plumbing, Inc. v. Alarm.com Inc., No. 15-CV-06314-YGR, 2018 WL
    5   3707283, at *5 (N.D. Cal. Aug. 3, 2018) (discussing ratification in similar
    6   circumstances at summary judgment).
    7         Agency need not be established for all purposes.           “The parents and
    8   subsidiaries may fully maintain their separate corporate existences; yet, as any two
    9   unrelated companies, they might have entered into a limited agency relationship
   10   for a specific transaction. Whether this occurred here is a question of fact [.]”
   11   Phoenix Canada Oil v. Texaco Inc., 842 F.2d 1466, 1478 (3d Cir. 1988). “Whenever
   12   the evidence conflicts regarding the existence of agency, the question must be
   13   submitted to the jury unless only one inference can reasonably drawn from the
   14   evidence, and then it becomes a question of law for the court.” Daniels v. United
   15   States, No. 3:16-CV-02077-BTM-DHB, 2017 WL 3478765, at *5 (S.D. Cal. Aug.
   16   11, 2017) (emphases added; quotations and internal marks omitted).
   17      B. DWI and StarKist
   18         StarKist and DWI share the same ultimate equitable owners, through DWE:
   19   Chairman Kim and his son Nam-jung. These two ultimate owners of DWI and
   20   StarKist ran the Dongwon Group and ran StarKist to ensure that its profits would
   21   be passed along to them through their ownership of DWI. These individuals and
   22   others who worked for them carried out their activities without distinguishing
   23   which entities they were working for—instead working on behalf of the Dongwon
   24   Group more generally. Indeed, Dongwon’s website states that “StarKist is an
   25   iconic tuna brand in the United States, and has been controlled by Dongwon Group
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  88
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170906 Page 103 of
                                     134



    1   since 2008”243—a fact the Court previously found significant. See ECF No. 295 at
    2   16; see also Bowoto, 312 F. Supp. 2d at 1245 (“[T]he fact that a parent holds out to
    3   the public that a subsidiary is a department of its own business increases the
    4   likelihood that the parent will be held liable for the subsidiary’s acts.”) (quotation
    5   omitted).
    6         The equitable owners of StarKist and DWI incorporated them into what
    7   functioned as effectively one Dongwon company.244
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           Stein Decl., Ex. 154 (emphases added). DWI claims Dongwon’s statements
        about its control of StarKist are “puffery.” DWI MP&A at 19 n.10. But as this
   19   Court explained, puffery is “exaggerated advertising, blustering, and boasting”
   20   that “has been described by most courts as involving outrageous generalized
        statements, not making specific claims[.]” Margolis v. Dial Corp., No. 12-CV-288
   21   JLS (WVG), 2013 WL 12069023, at *4 (S.D. Cal. Aug. 23, 2013) (quotations
   22   omitted). Puffery is not a specific, quantifiable representation (to DWI
        investors/customers) about whether a parent entity controls a subsidiary.
   23   244

   24                                                                                 Stein
   25   Decl., Ex. 155.
        245
            Stein Decl., Ex. 115.
   26   246
            Stein Decl., Ex. 156.
   27   247
            Stein Decl., Ex. 157.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  89
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170907 Page 104 of
                                     134



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   26   248
              Stein Decl., Ex. 156.
   27   249
              Stein Decl., Ex. 158 (emphases added). “BOD” refers to Board of Directors.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  90
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170908 Page 105 of
                                     134



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            Stein Decl., Ex. 159 (emphases added).
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            Stein Decl., Ex. 160.
   26   252
            Stein Decl., Ex. 161.
   27   253
            Stein Decl., Ex. 162.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  91
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170909 Page 106 of
                                     134



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   22   254
            Stein Decl., Ex. 163; Ex. 229 (Kim Dep.) 46:14-21.
   23   255
            Stein Decl., Ex. 230 (Roberts Dep.) 84:16-25; 88:22-89:1
   24   256
            See, e.g., Stein Decl., Ex. 225 (Cho Dep.) 54:13-55:13.
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        257
            Stein Decl., Ex. 164.
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            Stein Decl., Ex. 165.
   26   259
            Stein Decl., Ex. 166.
   27   260
            Stein Decl., Ex. 167.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  92
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170910 Page 107 of
                                     134



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   24   261
            Stein Decl., Ex. 168.
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            Stein Decl., Ex. 169.
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            Stein Decl., Exs. 170-71.
   26   264
            Stein Decl., Ex. 172.
   27   265
            Stein Decl., Ex. 171.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  93
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170911 Page 108 of
                                     134



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   24   266
            Stein Decl., Ex. 172.
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        267
            Stein Decl., Ex. 173 (emphases added).
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            Stein Decl., Ex. 174.
   26   269
            Stein Decl., Ex. 230 (Roberts Dep.) 60:23-61:15.
   27   270
            Id. 62:4-25.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  94
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170912 Page 109 of
                                     134



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   19                                                                     Axon Sols., Inc. v.
   20   San Diego Data Processing Corp., No. 09 CV 2543 JM RBB, 2010 WL 1797028, at *2
   21   (S.D. Cal. May 4, 2010) (“The City, and its elected leaders, were the decision-
   22   makers; SDDPC merely followed the City’s directions.”).
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            Stein Decl., Ex. 174.
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            Stein Decl., Ex. 175.
   26   273
            Stein Decl., Ex. 230 (Roberts Dep.) 82:2-13.
   27   274
            Stein Decl., Ex. 99.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  95
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170913 Page 110 of
                                     134



    1
    2            The foregoing facts reflect the regular and constant involvement of Dongwon
    3   personnel in StarKist’s business on behalf of their mutual equitable owners,
    4   Chairman Kim and his family. These facts and others, show overlapping officers
    5   and employees (see also Hamilton Report ¶¶ 98-103, 134-37, 140-44), domination
    6   and control by the same equitable owners (see also Hamilton Report ¶¶ 78-97),
    7   involvement in day-to-day activities (see also Hamilton Report ¶¶ 122-33), and a
    8   disregard for corporate formalities between StarKist and Dongwon (see also
    9   Hamilton Report ¶¶ 138-39); and failure to carry-out arm’s length transactions and
   10   maintain appropriate company records (DeMario Opening Report ¶¶ 53-62
   11
   12                      DeMario Rebuttal Report ¶ 36 n.41
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   16            There is also evidence of commingling of funds, reducing capitalization, and
   17   other transfers of money from StarKist to DWI and other Dongwon Group entities
   18   to the detriment of StarKist and its creditors, but to the benefit of DWI and its
   19   equitable owners.
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   27   275
              Stein Decl., Ex. 140.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  96
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170914 Page 111 of
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   12            Additionally, there are facts showing that after Plaintiffs’ had sued DWI and
   13   StarKist,
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   16                                                                                         It is
   17   unquestionable that at that time, StarKist and DWI knew about the alleged
   18   conspiracy and litigation, but they decided to remove that money out of StarKist’s
   19   possession in any event. See Ramirez v. Chip Masters, Inc., No. 11-CV-5772 (WFK)
   20   (MDG), 2014 WL 1248043 at *5 (E.D.N.Y. Mar. 25, 2014) (applying California
   21   law) (“It may be reasonably inferred that the Cejas, without regard to the interests
   22   of Chip Masters or its creditors, and at a time when Chip Masters faced a potential
   23   lawsuit, transferred its assets to . . . avoid[] the potential liability of this litigation.
   24   Such conduct is sufficient to establish that the Cejas acted in bad faith and that an
   25   inequitable result would occur if this Court does not pierce the corporate veil and
   26   276
              Stein Decl., Ex. 176.
   27   277
              Stein Decl., Ex. 177.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)      CASE NO. 15-MD-2670-JLS-MDD
                                                  97
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170915 Page 112 of
                                     134



    1   hold the Cejas personally liable.”).
    2         StarKist has indeed recently pleaded poverty before both the Northern
    3   District of California and Ninth Circuit, and the former found one fact particularly
    4   important with respect to StarKist’s suggestion, which was its investment between
    5   2014 and 2017 in Techpack Solutions Co.278 Techpack was South Korea’s leading
    6   manufacturer of glass bottles, PET bottles, and metal packaging.279
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            Stein Decl., Ex. 9.
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            Stein Decl., Ex. 259.
   26   280
            Stein Decl., Ex. 178.
   27   281
            Stein Decl., Ex. 146 (emphases added).
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  98
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170916 Page 113 of
                                     134



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    4         These facts show how Dongwon used StarKist’s assets to further the interests
    5   of DWI and other Dongwon Group companies and to transfer those assets out of
    6   StarKist after litigation about the antitrust conspiracy commenced. It would be
    7   inequitable for the owners of DWI and StarKist to use their positions with StarKist
    8   to transfer money out of the United States subsidiary to entities that are not
    9   reachable by Plaintiffs. See, e.g., Riddle v. Leuschner, 51 Cal. 2d 574, 335 P.2d 107,
   10   112 (Cal. 1959) (inequitable result where Yosemite’s assets were transferred and
   11   intermingled with Kadota’s, disadvantaging Yosemite and its creditors); SK Foods,
   12   499 B.R. at 841 (“when owners of an entity use their control to siphon off corporate
   13   assets to benefit owners or related entities and nothing is given in return, that
   14   conduct is deemed to be inequitable because it harms the interests of the corporation
   15   and its creditors.”); NEC Elecs. Inc. v. Hurt, 208 Cal. App. 3d 772, 777-78 (Cal. Ct.
   16   App. 1989) (“Hurt manipulated the assets of Ph to the detriment of Ph’s creditors.
   17   As a consequence, there is substantial evidence to support the trial court’s
   18   conclusion that Hurt’s manipulation of the assets of Ph produced an inequity to
   19   NEC and that Hurt was indeed Ph’s alter ego.”).
   20      C. TUG and COSI
   21         As described above, COSI’s Board of directors is comprised of only members
   22   of the Chansiri-Niruttinanon family since TUG acquired 100% of COSI. TUG
   23   views COSI as merely a brand within its company. During his transition to
   24   becoming CEO, Shue Wing was quoted as saying that “[t]he strength and quality
   25   of the Chicken of the Sea brand and its sales, marketing and management teams,
   26   coupled with the infrastructure of Thai Union, poise our company for continued
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                  99
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170917 Page 114 of
                                     134



    1   growth, and I look forward to building upon these factors[.]” (Emphasis added.)282
    2   The concept of COSI as a mere brand of TUG continues today, with COSI stating
    3   in numerous public forums that it is the “North American brand” of TUG.283
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             See Stein Decl., Ex. 260.
   21   283
            See Stein Decl., Ex. 261 and https://www.linkedin.com/company/chicken-of-
   22   the-sea/about/.
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             Stein Decl., Ex. 215 (Chan Dep.) 45:1-5.
        285
             Stein Decl., Ex. 179. The Court previously found significant to the alter ego
   24
        inquiry the following facts: “TUG catches and cans the tuna that it sells through
   25   CotS . . . there is some overlap between TUG’s and CotS’s corporate governance
        . . .TUG presents a common global marketing image with CotS[.]” ECF No. 295
   26
        at 13-14.
   27   286
             Stein Decl., Ex. 180.
   28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                 100
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170918 Page 115 of
                                     134



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   11   As these materials reflect, TUG and COSI held themselves out as one to customers,
   12   with TUG providing the raw materials and COSI providing some packaging and
   13   distribution for TUG products.
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   21                                   See In re Vitamin C Antitrust Litig., No. 06-MD-1738
   22   (BMC)(JO), 2012 WL 2930109, at *6 (E.D.N.Y. July 18, 2012) (“[T]he borders
   23   between CPG and Weisheng are as permeable as CPG’s promotional materials
   24   depict. . . . Viewing the facts in a light most favorable to plaintiffs, the practical
   25
        287
            Stein Decl., Ex. 181.
   26   288
            Stein Decl., Ex. 200 (Bixler Dep.) 175:12-19; 172:1-20.
   27   289
            Id. 194:11-15.
   28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                 101
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170919 Page 116 of
                                     134



    1   reality of CPG and Weisheng seems to be that CPG, as advertised on its website,
    2   manufactures and sells vitamin C through Weisheng, which acts like a sales
    3   department of CPG.”).
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   12                                                          These are just a few examples
   13   of such conduct. See Matsumoto v. Auto Page, Inc., No. B216840, 2010 WL 5061932,
   14   at *6 (Cal. Ct. App. Dec. 13, 2010) (alter ego found when parent company “rendered
   15   performance evaluations and made salary, bonus, promotion, demotion and other
   16   personnel decisions” for subsidiary).
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              Stein Decl., Ex. 182.

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            Stein Decl., Exs. 183-84.
   26   292
            Stein Decl., Exs. 185.
   27   293
            Stein Decl., Ex. 51.
   28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                 102
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170920 Page 117 of
                                     134



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        294
            Stein Decl., Ex. 215 (Chan Dep.) 57:10-23.
        295
            Stein Decl., Ex. 215 (Chan Dep.) 67:16-68:12.
   22   296
            Stein Decl., Ex. 215 (Chan Dep.) 75:18-79:10.
   23   297
            Stein Decl., Ex. 222 (Chansiri Dep.) 30:13-23.
   24   298
            Stein Decl., Ex. 222 (Chansiri Dep.) 37:17-21.
   25
        299
            Stein Decl., Ex. 222 (Chansiri Dep.) 44:2-8.
        300
            Stein Decl., Ex. 222 (Chansiri Dep.) 47:14-19.
   26   301
            Stein Decl., Ex. 222 (Chansiri Dep.) 35:10-14.
   27   302
            Stein Decl., Ex. 222 (Chansiri Dep.) 57:15-21.
   28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                 103
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170921 Page 118 of
                                     134



    1            These are just some of the examples of how COSI and TUG’s same,
    2   overlapping equitable owners exercised domination and control (see also Hamilton
    3   Report ¶¶ 27-45, 48-51), were involved in day-to-day activities (see also Hamilton
    4   Report ¶¶ 52-53, 62-75), and showed a disregard for corporate formalities between
    5   TUG and COSI (see also Hamilton Report ¶¶ 55-59, 76-78; DeMario Opening
    6   Report ¶¶ 99-106). In re Hydroxycut Mktg. & Sales Practices Litig., 810 F. Supp. 2d
    7   1100, 1122-23 (S.D. Cal. 2011) (domination found, despite regard for corporate
    8   formalities and adequate capitalization, when parent company’s owner was
    9   involved in “day-to-day operations” of the subsidiary).
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   27   303
              Stein Decl., Ex. 186. See also Stein Decl., Ex. 53.
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)     CASE NO. 15-MD-2670-JLS-MDD
                                                 104
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170922 Page 119 of
                                     134



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   22         D. Lion Entities
   23            Although Plaintiffs have been deprived of important discovery from Lion
   24   Capital and Big Catch, they submit that there is sufficient information to establish
   25   that Lion Americas was acting as an agent of Lion Capital and that Big Catch is
   26
   27   304
              Stein Decl., Ex. 262.
   28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                 105
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170923 Page 120 of
                                     134



    1   the alter ego of Lion Capital. Moreover, Lion Capital is not entitled to summary
    2   judgment because one of two results must apply: either (1) the relevant Lion Capital
    3   partners who also held titles at Lion Americas acted on behalf of Lion Capital
    4   during the conspiracy; or (2) Lion Americas was an agent of Lion Capital. Given
    5   the fact-intensive inquiry that applies and the substantial evidence that supports
    6   both these conclusions, neither can be resolved at summary judgment.
    7         1. Lion Americas Acted as an Agent of Lion Capital
    8         Lion Americas is not in the seafood business, but it used Bumble Bee to drive
    9   profits to Lion Capital’s private equity fund and owner-partners in Big Catch.
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   23   305
            Stein Decl., Ex. 216 (Lindberg Dep.) 35:10-15; 36:1-5.
   24   306
            The Court, in analyzing specific jurisdiction, has already found that Lindberg,
   25   Chang, and Capps “were [Lion Capital] partners and that their intentional acts
        impute to Lion Capital.” ECF No. 1358 at 44.
   26   307
            Stein Decl., Ex. 62.
   27   308
            Stein Decl., Ex. 13.
   28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                 106
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170924 Page 121 of
                                     134



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            Stein Decl., Ex. 75.
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            Stein Decl., Ex. 62
   23   311
            See, e.g., Stein Decl., Ex. 69; see also Stein Decl., Ex. 187 (noting that the
   24   “Manager” of Lion Capital Fund III is Lion Capital, not Lion Americas, and
   25   describing Manager’s responsibilities)
        312
            Stein Decl., Ex. 217 (Chang Dep.) 160:16-161:11).
   26   313
            Stein Decl., Ex. 262 (SEC form, Section 7.A(6)), Ex. 263 (emphasis omitted).
   27   314
            Stein Decl., Ex. 262.
   28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                 107
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170925 Page 122 of
                                     134



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   24   315
             Id. Section 1.L (noting “Management Accounts and Similar Financial
   25   Records” are kept with Lion Capital LLP).
        316
            Stein Decl., Ex. 63.
   26   317
            See, e.g., Stein Decl., Ex. 128.
   27   318
            Stein Decl., Ex. 188 (emphases added).
   28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                 108
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170926 Page 123 of
                                     134



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    3         The Ninth Circuit has called a similar situation a “classic agency
    4   relationship.” See, e.g., Dearborn v. Mar Ship Operations, Inc., 113 F.3d 995, 999 (9th
    5   Cir. 1997) (considering the common law definition of agency and finding an agency
    6   relationship to exist where an entity operated a vessel on the government’s behalf
    7   and subject to its “overall direction and control over the operation of the vessel”).
    8   Here too, Lion Capital used Lion Americas to provide management and
    9   monitoring for Bumble Bee while maintaining overall direction and control over
   10   Bumble Bee as the ultimate owner and with the right to control its actions.
   11         2. Big Catch is the Alter Ego of Lion Capital
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   24   319
            Stein Decl., Ex. 216 (Lindberg Dep.) 407:20-408:8, 409:4-8.
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        320
            Stein Decl., Ex. 231 (BB (30(b)(6) (Hughes) Dep.) 23:22-23; Stein Decl., Ex.
        216 (Lindberg Dep.) 410:8-13.
   26   321
            Stein Decl., Ex. 264.
   27   322
            Stein Decl., Ex. 78 at 4 (LION_00014795).
   28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                 109
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170927 Page 124 of
                                     134
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170928 Page 125 of
                                     134



    1   that Big Catch could guarantee a fine of up to $81.5 million if Bumble Bee is sold
    2   to ensure there was not a windfall to the owners of Big Catch – Lion Capital’s fund
    3   investors.327 The same is true in the civil case if Big Catch is not held vicariously
    4   liable.
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   14                                                                      Those debts have put
   15   Bumble Bee in a position where it is now considering restructuring the company,
   16   which could mean bankruptcy.330
   17             Under these circumstances, Big Catch and Lion Capital should be held to be
   18   alter egos.
   19   VI.       CONCLUSION
   20             For the reasons set forth above, Plaintiffs respectfully request that the Court
   21   deny the Parent Entities’ Motions in full.
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   23   327
            Stein Decl., Ex. 8 at 14-17.
   24   328
            See Stein Decl., Ex. 231 (BB (30(b)(6) (Hughes) Dep.) 19:14-24, 22:12-23:11.
   25   Stein Decl., Ex. 190 at LION_00002942.
        329
            Stein Decl., Ex. 190 at LION_00002947.
   26   330
            https://www.undercurrentnews.com/2019/08/07/bumble-bee-mulls-
   27   bankruptcy-filing-with-sales-dropping-debt-covenant-breached/.
   28
        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)      CASE NO. 15-MD-2670-JLS-MDD
                                                 111
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170929 Page 126 of
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                                                 112
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170930 Page 127 of
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                                                 113
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170931 Page 128 of
                                     134



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                                                 114
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170932 Page 129 of
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                                                 115
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170933 Page 130 of
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                                                 116
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170934 Page 131 of
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                                                 117
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170935 Page 132 of
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                                              Affiliated Foods Inc., Alex Lee, Inc., Associated
   18                                         Foods Stores, Inc., Associated Grocers of New
   19                                         England, Inc., Associated Grocers, Inc., Bashas’
                                              Inc., Big Y Foods, Inc., Brookshire Brothers,
   20                                         Inc., Brookshire Grocery Company, Certco, Inc.,
   21                                         CVS Pharmacy, Inc., Dollar Tree Distribution.
                                              Inc., Greenbrier International, Inc., Family
   22                                         Dollar Stores, Inc., Family Dollar Services,
   23                                         LLC., Fareway Stores, Inc., The Golub
                                              Corporation, Giant Eagle, Inc., Kmart
   24                                         Corporation, K-VA-T Food Stores, Inc., Mark
   25                                         Glassman, Inc., McLane Company, Inc.,
                                              Meadowbrook Meat Company, Inc., Merchants
   26                                         Distributors, LLC., Schnuck Markets, Inc.,
   27                                         SpartanNash Company, URM Stores, Inc.,
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                 118
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170936 Page 133 of
                                     134



    1                                         Western Family Foods, Inc., Woodman’s Food
                                              Market, Inc., and 99 Cents Only Stores LLC
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                 119
Case 3:15-md-02670-DMS-MDD Document 2139 Filed 11/07/19 PageID.170937 Page 134 of
                                     134



    1                            CERTIFICATE OF SERVICE
    2         I certify that on November 7, 2019, I filed the foregoing document and
    3   supporting papers with the Clerk of the Court for the United States District Court,
    4   Southern District of California, by using the Court’s CM/ECF system. I also
    5   served counsel of record via this Court’s CM/ECF system.
    6
    7
    8                                         By: s/ Christopher L. Lebsock
                                                    Christopher L. Lebsock
    9                                               HAUSFELD LLP
   10                                               clebsock@hausfeld.com
                                                    Lead Counsel for the Direct Purchaser
   11                                               Plaintiff Class
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        PLS.’ OPP’N TO DEFS.’ SUMM. J. MOTS. (PARENT COS.)   CASE NO. 15-MD-2670-JLS-MDD
                                                 120
